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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



    IN RE EQUIFAX INC. SECURITIES               Consolidated Case No.
    LITIGATION                                  1:17-cv-03463-TWT



           STIPULATION AND AGREEMENT OF SETTLEMENT

       This Stipulation and Agreement of Settlement, dated as of February 12, 2020

(the “Stipulation”) is entered into between (a) lead plaintiff Union Asset

Management Holding AG (“Lead Plaintiff”), on behalf of itself and the Settlement

Class (defined below); and (b) defendants Equifax Inc. (“Equifax” or the

“Company”) and Richard F. Smith (“Smith” and, together with Equifax,

“Defendants”) (Lead Plaintiff and Defendants, together, the “Parties”), and

embodies the terms and conditions of the settlement of the above-captioned action

(the “Action”).1 Subject to the approval of the Court and the terms and conditions

expressly provided herein, this Stipulation is intended to fully, finally, and forever




1
  All terms with initial capitalization not otherwise defined herein shall have the
meanings ascribed to them in ¶ 1 herein.
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compromise, settle, release, resolve, and dismiss with prejudice the Action and all

Released Plaintiff’s Claims (defined below) against Defendants.

      WHEREAS:

      A.      Beginning in September 2017, certain related class actions (Kuhns v.

Equifax Inc., et al., Case No. 1:17-cv-03463-WSD; Brock v. Equifax Inc., et al., Case

No. 1:17-cv-04510-WSD; and Groover v. Equifax Inc., et al., Case No. 1:17-cv-

04511-WSD) were filed in or transferred to the United States District Court for the

Northern District of Georgia, Atlanta Division (the “Court”) alleging violations of

the federal securities laws.

      B.      The actions were initially assigned to the Honorable William S. Duffey,

Jr. On December 11, 2017, the Kuhns action was reassigned to the Honorable

Thomas W. Thrash, Jr. On December 21, 2017, the Brock action was voluntarily

dismissed. On January 10, 2018, Judge Duffey entered an order transferring the

Groover action to Chief Judge Thrash.

      C.      By Order dated January 10, 2018, the Court consolidated the Kuhns and

Groover actions and ordered that all future filings in the consolidated action be made

in Case No. 1:17-cv-03463-TWT, under the caption In re Equifax Inc. Securities

Litigation.




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      D.    By Order dated February 21, 2018, the Court appointed Union Asset

Management Holding AG as Lead Plaintiff and approved Bernstein Litowitz Berger

& Grossmann LLP as Lead Counsel.

      E.    On April 23, 2018, Lead Plaintiff filed and served its Consolidated

Class Action Complaint for Violations of the Federal Securities Laws (the

“Complaint”) asserting claims against defendants Equifax, Smith, John W. Gamble

(“Gamble”), Rodolfo O. Ploder (“Ploder”), and Jeffrey L. Dodge (“Dodge”) under

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5 promulgated thereunder, and against defendants Smith, Gamble, Ploder, and

Dodge under Section 20(a) of the Exchange Act. Among other things, the Complaint

alleged that defendants made materially false and misleading statements about

Equifax’s cybersecurity, including about Equifax’s efforts to safeguard highly

sensitive personal information that is at the core of its business and Equifax’s

compliance with applicable data protection laws and cybersecurity best practices.

The Complaint further alleged that the price of Equifax common stock was

artificially inflated as a result of defendants’ allegedly false and misleading

statements and declined when the truth was revealed.

      F.    On June 7, 2018, defendants filed a joint motion to dismiss the

Complaint. On July 23, 2018, Lead Plaintiff filed its memorandum of law in


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opposition to the motion to dismiss, and, on August 22, 2018, defendants filed their

reply papers.

      G.     On December 11, 2018, the Court heard oral argument on defendants’

motion to dismiss the Complaint.

      H.     On January 28, 2019, the Court entered its Opinion and Order denying

in part and granting in part defendants’ motion to dismiss the Complaint.

Specifically, the Court denied the motion with respect to defendants Equifax and

Smith (collectively, “Defendants”) and granted the motion with respect to

defendants Gamble, Ploder, and Dodge (collectively, “Former Defendants”). The

Court also held that the Complaint failed to state a claim for relief with respect to

certain statements challenged in the Complaint.

      I.     On March 28, 2019, Defendants Equifax and Smith each filed their

Answer and Defenses to the Complaint. Among other things, Defendants’ Answer

denied Lead Plaintiff’s allegations of wrongdoing and asserted various defenses to

the claims pled against them.

      J.     On March 29, 2019, Lead Plaintiff filed its motion for class certification

and appointment of class representative and class counsel, which was accompanied

by a report from Lead Plaintiff’s expert on market efficiency and common damages

methodologies. On August 12, 2019, Defendants filed their opposition to Lead


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Plaintiff’s class certification motion, which was accompanied by a report from

Defendants’ expert in response to Lead Plaintiff’s expert report. On October 11,

2019, Lead Plaintiff filed its reply papers.

      K.     In connection with Lead Plaintiff’s March 29, 2019 class certification

motion, Lead Plaintiff produced over 2,500 documents, totaling more than 28,000

pages, to Defendants. Defendants’ Counsel deposed, and Lead Counsel defended,

the deposition of two representatives from Lead Plaintiff, as well as Lead Plaintiff’s

expert. Lead Counsel also deposed Defendants’ expert.

      L.     Discovery in the Action commenced in April 2019. Defendants and

third parties produced more than 171,000 documents, totaling more than 1 million

pages, to Lead Plaintiff. In addition, the Parties met and conferred and exchanged

numerous letters concerning disputed discovery issues over several months. Lead

Plaintiff made a number of applications to the Court regarding disputed discovery

issues, some of which remained pending at the time of the Settlement.

      M.     The Parties began exploring the possibility of a settlement in the spring

of 2019. The Parties agreed to engage in private mediation and retained retired

United States District Court Judge Layn R. Phillips to act as mediator in the Action

(the “Mediator”). On May 29, 2019, counsel for the Parties participated in a full-

day mediation session before the Mediator. In advance of that session, the Parties


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exchanged and submitted detailed opening and reply mediation statements to the

Mediator, together with numerous supporting exhibits, which addressed both

liability and damages issues. The session ended without any agreement being

reached.

      N.    Following the May 29, 2019 mediation, the Parties engaged in

additional settlement negotiations under the supervision and guidance of the

Mediator. After several months of such negotiations, the Parties then reached an

agreement in principle to settle the Action pursuant to a Mediator’s recommendation

that was memorialized in a term sheet executed on November 16, 2019 (the “Term

Sheet”). The Term Sheet set forth, among other things, the Parties’ agreement to

settle and release all claims against Defendants in the Action in return for a cash

payment of $149,000,000 for the benefit of the Settlement Class, subject to certain

terms and conditions and the execution of a customary “long form” stipulation and

agreement of settlement and related papers.

      O.    This Stipulation (together with the exhibits hereto) reflects the final and

binding agreement between the Parties and supersedes the Term Sheet.

      P.    Based upon their investigation, prosecution, and mediation of the case,

Lead Plaintiff and Lead Counsel have concluded that the terms and conditions of

this Stipulation are fair, reasonable, and adequate to Lead Plaintiff and the other


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members of the Settlement Class, and in their best interests. Based on Lead

Plaintiff’s direct oversight of the prosecution of this matter and with the advice of

its counsel, Lead Plaintiff has agreed to settle and release the Released Plaintiff’s

Claims pursuant to the terms and provisions of this Stipulation, after considering,

among other things: (a) the substantial financial benefit that Lead Plaintiff and the

other members of the Settlement Class will receive under the proposed Settlement;

and (b) the significant risks and costs of continued litigation and trial.

      Q.     This Stipulation constitutes a compromise of all matters that are in

dispute between the Parties. Defendants are entering into this Stipulation solely to

eliminate the uncertainty, burden, and expense of further protracted litigation. Each

of the Defendants denies any wrongdoing, and this Stipulation shall in no event be

construed or deemed to be evidence of or an admission or concession on the part of

Defendants with respect to any claim or allegation of any fault or liability or

wrongdoing or damage whatsoever, or any infirmity in the defenses that Defendants

have, or could have, asserted or with respect to the requirements of Federal Rule of

Civil Procedure 23 and whether those requirements are satisfied in this case.

Defendants expressly deny that Lead Plaintiff has asserted any valid claims as to any

of them, and expressly deny any and all allegations of fault, liability, wrongdoing,

or damages whatsoever. Similarly, this Stipulation shall in no event be construed or


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deemed to be evidence of or an admission or concession on the part of Lead Plaintiff

of any infirmity in any of the claims asserted in the Action, or an admission or

concession that any of the Defendants’ defenses to liability had any merit.

      NOW THEREFORE, it is hereby STIPULATED AND AGREED, by and

among Lead Plaintiff (individually and on behalf of all other members of the

Settlement Class) and Defendants, by and through their respective undersigned

attorneys and subject to the approval of the Court pursuant to Rule 23(e) of the

Federal Rules of Civil Procedure, that, in consideration of the benefits flowing to the

Parties from the Settlement, all Released Plaintiff’s Claims as against the

Defendants’ Releasees and all Released Defendants’ Claims as against the Plaintiff’s

Releasees shall be settled and released, upon and subject to the terms and conditions

set forth below.

                                  DEFINITIONS

      1.     As used in this Stipulation and any exhibits attached hereto and made a

part hereof, the following capitalized terms shall have the following meanings:

             (a)   “Action” means the consolidated securities class action in the

matter styled In re Equifax Inc. Securities Litigation, Consolidated Case No. 1:17-

cv-03463-TWT, and includes all actions consolidated therein.




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             (b) “Alternate Judgment” means a form of final judgment that may

be entered by the Court herein but in a form other than the form of Judgment

provided for in this Stipulation.

             (c) “Authorized Claimant” means a Settlement Class Member who

or which submits a Claim to the Claims Administrator that is approved by the Court

for payment from the Net Settlement Fund.

             (d) “Claim” means a paper claim submitted on a Proof of Claim Form

or an electronic claim that is submitted to the Claims Administrator.

             (e) “Claim Form” or “Proof of Claim Form” means the form,

substantially in the form attached hereto as Exhibit 2 to Exhibit A, that a Claimant

must complete and submit should that Claimant seek to share in a distribution of the

Net Settlement Fund.

             (f)   “Claimant” means a person or entity who or which submits a

Claim to the Claims Administrator seeking to be eligible to share in the proceeds of

the Net Settlement Fund.

             (g) “Claims Administrator” means the firm retained by Lead

Counsel, subject to approval of the Court, to provide all notices approved by the

Court to potential Settlement Class Members and to administer the Settlement.




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             (h) “Class Distribution Order” means an order entered by the Court

authorizing and directing that the Net Settlement Fund be distributed, in whole or in

part, to Authorized Claimants.

             (i)   “Complaint” means the Consolidated Class Action Complaint for

Violations of the Federal Securities Laws filed by Lead Plaintiff in the Action on

April 23, 2018.

             (j)   “Court” means the United States District Court for the Northern

District of Georgia, Atlanta Division.

             (k) “Defendants” means Equifax and Richard F. Smith.

             (l)   “Defendants’ Counsel” means King & Spalding LLP, counsel for

Defendant Equifax (“Equifax’s Counsel”) and Quinn Emanuel Urquhart & Sullivan,

LLP, counsel for Defendant Richard F. Smith.

             (m) “Defendants’ Releasees” means Defendants, Former Defendants,

and their current and former parents, affiliates, subsidiaries, officers, directors,

agents, successors, predecessors, assigns, assignees, partnerships, partners, trustees,

trusts, employees, Immediate Family Members, insurers, reinsurers, and attorneys.

             (n) “Effective Date” with respect to the Settlement means the first

date by which all of the events and conditions specified in ¶ 32 of this Stipulation

have been met and have occurred or have been waived.


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             (o) “Equifax” or the “Company” means Equifax Inc.

             (p) “Escrow Account” means an account maintained at Citibank,

N.A. wherein the Settlement Amount shall be deposited and held in escrow under

the control of Lead Counsel.

             (q) “Escrow Agent” means Citibank, N.A.

             (r)   “Escrow Agreement” means the agreement between Lead

Counsel and the Escrow Agent setting forth the terms under which the Escrow Agent

shall maintain the Escrow Account.

             (s)   “Excluded Defendants’ Claims” means (i) any claims relating to

the enforcement of the Settlement; and (ii) any claims against any person or entity

who or which submits a request for exclusion that is accepted by the Court.

             (t)   “Excluded Plaintiff’s Claims” means (i) any claims relating to the

enforcement of the Settlement; (ii) any claims asserted on behalf of the Company in

any derivative action, including, without limitation, the claims asserted in In re

Equifax Inc. Derivative Litigation, Case No. 1:18-cv-00317-TWT (N.D. Ga.), or any

cases consolidated into that action; and (iii) any claims of any person or entity who

or which submits a request for exclusion that is accepted by the Court.

             (u) “Final,” with respect to the Judgment or, if applicable, the

Alternate Judgment, or any other court order, means: (i) if no appeal is filed, the


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expiration date of the time provided for filing or noticing any appeal under the

Federal Rules of Appellate Procedure, i.e., thirty (30) days after entry of the

judgment or order; or (ii) if there is an appeal from the judgment or order, (a) the

date of final dismissal of all such appeals, or the final dismissal of any proceeding

on certiorari or otherwise, or (b) the date the judgment or order is finally affirmed

on an appeal, the expiration of the time to file a petition for a writ of certiorari or

other form of review, or the denial of a writ of certiorari or other form of review,

and, if certiorari or other form of review is granted, the date of final affirmance

following review pursuant to that grant. However, any appeal or proceeding seeking

subsequent judicial review pertaining solely to an order issued with respect to

(i) attorneys’ fees, costs, or expenses, or (ii) the plan of allocation of Settlement

proceeds (as submitted or subsequently modified), shall not in any way delay or

preclude a judgment from becoming Final.

             (v) “Former Defendants” means John W. Gamble, Rodolfo O.

Ploder, and Jeffrey L. Dodge.

             (w) “Immediate Family Members” means children, stepchildren,

parents, stepparents, spouses, siblings, mothers-in-law, fathers-in-law, sons-in-law,

daughters-in-law, brothers-in-law, and sisters-in-law. As used in this paragraph,




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“spouse” shall mean a husband, a wife, or a partner in a state-recognized domestic

relationship or civil union.

              (x) “Judgment” means the final judgment, substantially in the form

attached hereto as Exhibit B, to be entered by the Court approving the Settlement.

              (y) “Lead Counsel” means the law firm of Bernstein Litowitz

Berger & Grossmann LLP.

              (z) “Lead Plaintiff” means Union Asset Management Holding AG.

              (aa) “Litigation Expenses” means costs and expenses incurred in

connection with commencing, prosecuting, and settling the Action (which may

include the costs and expenses of Lead Plaintiff directly related to its representation

of the Settlement Class), for which Lead Counsel intends to apply to the Court for

payment from the Settlement Fund.

              (bb) “Local Counsel” means the law firm of Bondurant Mixson &

Elmore LLP.

              (cc) “Net Settlement Fund” means the Settlement Fund less: (i) any

Taxes; (ii) any Notice and Administration Costs; (iii) any Litigation Expenses

awarded by the Court; (iv) any attorneys’ fees awarded by the Court; and (v) any

other costs or fees approved by the Court.




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             (dd) “Notice” means the Notice of (I) Pendency of Class Action and

Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an

Award of Attorneys’ Fees and Litigation Expenses, substantially in the form

attached hereto as Exhibit 1 to Exhibit A, which is to be mailed or emailed to

Settlement Class Members.

             (ee) “Notice and Administration Costs” means the costs, fees, and

expenses that are incurred by the Claims Administrator and/or Lead Counsel in

connection with: (i) providing notices to the Settlement Class; and (ii) administering

the Settlement, including but not limited to the Claims process, as well as the costs,

fees, and expenses incurred in connection with the Escrow Account.

             (ff) “Officer” means any officer as that term is defined in Securities

and Exchange Act Rule 16a-1(f).

             (gg) “Parties” means Defendants and Lead Plaintiff, on behalf of itself

and the Settlement Class.

             (hh) “Plaintiff’s Counsel” means Lead Counsel, Local Counsel, and

all other legal counsel who, at the direction and under the supervision of Lead

Counsel, performed services on behalf of the Settlement Class in the Action.

             (ii) “Plaintiff’s Releasees” means Lead Plaintiff, all other plaintiffs in

the Action, and all other Settlement Class Members, and their respective current and


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former parents, affiliates, subsidiaries, officers, directors, agents, successors,

predecessors, assigns, assignees, partnerships, partners, trustees, trusts, employees,

Immediate Family Members, insurers, reinsurers, and attorneys.

             (jj) “Plan of Allocation” means the proposed plan of allocation of the

Net Settlement Fund set forth in the Notice.

             (kk) “Preliminary Approval Order” means the order, substantially in

the form attached hereto as Exhibit A, to be entered by the Court preliminarily

approving the Settlement and directing that notice of the Settlement be provided to

the Settlement Class.

             (ll) “PSLRA” means the Private Securities Litigation Reform Act of

1995, 15 U.S.C. § 78u-4, as amended.

             (mm) “Released Claims” means all Released Defendants’ Claims and

all Released Plaintiff’s Claims.

             (nn) “Released Defendants’ Claims” means all claims (including

Unknown Claims), debts, disputes, demands, rights, actions or causes of action,

liabilities, damages, losses, obligations, sums of money due, judgments, suits,

amounts, matters, issues and charges of any kind whatsoever (including, but not

limited to, any claims for interest, attorneys’ fees, expert or consulting fees, and any

other costs, expenses, amounts, or liabilities whatsoever), whether fixed or


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contingent, accrued or unaccrued, liquidated or unliquidated, at law or in equity,

matured or unmatured, foreseen or unforeseen, whether arising under federal or state

statutory or common law or any other law, rule, or regulation, whether foreign or

domestic, that arise out of or relate in any way to the institution, prosecution, or

settlement of the claims asserted in the Action. Released Defendants’ Claims do not

include, settle, or release any of the Excluded Defendants’ Claims.

             (oo) “Released Plaintiff’s Claims” means all claims (including

Unknown Claims), debts, disputes, demands, rights, actions or causes of action,

liabilities, damages, losses, obligations, sums of money due, judgments, suits,

amounts, matters, issues and charges of any kind whatsoever (including, but not

limited to, any claims for interest, attorneys’ fees, expert or consulting fees, and any

other costs, expenses, amounts, or liabilities whatsoever), whether fixed or

contingent, accrued or unaccrued, liquidated or unliquidated, at law or in equity,

matured or unmatured, foreseen or unforeseen, whether individual or class in nature,

whether arising under federal or state statutory or common law or any other law,

rule, or regulation, whether foreign or domestic, that Lead Plaintiff or any other

member of the Settlement Class: (i) (A) asserted in any of the complaints filed in the

Action; or (B) could have asserted in the Action or in any other action or in any other

forum that arise out of, are based upon, are related to, or are in consequence of any


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of the facts, allegations, transactions, matters, events, disclosures, non-disclosures,

occurrences, representations, statements, acts or omissions, or failures to act that

were involved, set forth, or referred to in any of the complaints filed in the Action,

or that otherwise would have been barred by res judicata had the Action been fully

litigated to a final judgment; and (ii) relate to the purchase or sale of publicly-traded

Equifax common stock during the Class Period. Released Plaintiff’s Claims do not

include, settle, or release any of the Excluded Plaintiff’s Claims.

               (pp) “Releasee(s)” means each and any of the Defendants’ Releasees

and each and any of the Plaintiff’s Releasees.

               (qq) “Releases” means the releases set forth in ¶¶ 5-6 of this

Stipulation.

               (rr) “Settlement” means the settlement between Lead Plaintiff and

Defendants on the terms and conditions set forth in this Stipulation.

               (ss) “Settlement Amount” means $149,000,000 in cash.

               (tt) “Settlement Class” or “Class” means all persons and entities who

purchased or otherwise acquired publicly-traded Equifax common stock during the

period from February 25, 2016 through September 15, 2017, inclusive (the “Class

Period”), and who were damaged thereby (the “Settlement Class”). Excluded from

the Settlement Class are: (i) the Defendants and Former Defendants; (ii) any current


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or former Officers or directors of Equifax who served in such capacities during the

Class Period; (iii) the Immediate Family Members of Defendant Smith, the Former

Defendants, or any current or former Officer or director of Equifax who served in

such capacities during the Class Period; (iv) any entity that any Defendant or Former

Defendant owns or controls, or owned or controlled during the Class Period; (v) any

affiliates, parents, or subsidiaries of Equifax; and (vi) the legal representatives, heirs,

successors, and assigns of any such excluded persons and entities. Also excluded

from the Settlement Class are any persons or entities who or which exclude

themselves by submitting a request for exclusion that is accepted by the Court.

              (uu) “Settlement Class Member” or “Class Members” means each

person or entity who or which is a member of the Settlement Class.

              (vv) “Settlement Class Period” or “Class Period” means the period

from February 25, 2016 through September 15, 2017, inclusive.

              (ww) “Settlement Fund” means the Settlement Amount plus any and

all interest earned thereon.

              (xx) “Settlement Fairness Hearing” means the hearing set by the Court

under Rule 23(e)(2) of the Federal Rules of Civil Procedure to consider final

approval of the Settlement.




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             (yy) “Summary Notice” means the Summary Notice of (I) Pendency

of Class Action and Proposed Settlement; (II) Settlement Fairness Hearing; and

(III) Motion for an Award of Attorneys’ Fees and Litigation Expenses, substantially

in the form attached hereto as Exhibit 3 to Exhibit A, to be published as set forth in

the Preliminary Approval Order.

             (zz) “Taxes” means: (i) all federal, state, and/or local taxes of any kind

(including any interest or penalties thereon) on any income earned by the Settlement

Fund; and (ii) the expenses and costs incurred by Lead Counsel in connection with

determining the amount of, and paying, any taxes owed by the Settlement Fund

(including, without limitation, expenses of tax attorneys and accountants).

             (aaa)“Unknown Claims” means any Released Plaintiff’s Claims which

Lead Plaintiff or any other Settlement Class Member does not know or suspect to

exist in his, her, or its favor at the time of the release of such claims, and any

Released Defendants’ Claims which any Defendant or Former Defendant does not

know or suspect to exist in his, her, or its favor at the time of the release of such

claims, which, if known by him, her, or it, might have affected his, her, or its

decision(s) with respect to this Settlement. With respect to any and all Released

Claims, the Parties stipulate and agree that, upon the Effective Date of the

Settlement, Lead Plaintiff and Defendants shall expressly waive, and each of the


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other Settlement Class Members and each of the Former Defendants shall be deemed

to have waived, and by operation of the Judgment or the Alternate Judgment, if

applicable, shall have expressly waived, any and all provisions, rights, and benefits

conferred by any law of any state or territory of the United States, or principle of

common law or foreign law, which is similar, comparable, or equivalent to

California Civil Code §1542, which provides:

      A general release does not extend to claims that the creditor or releasing
      party does not know or suspect to exist in his or her favor at the time of
      executing the release and that, if known by him or her, would have
      materially affected his or her settlement with the debtor or released
      party.

Lead Plaintiff and Defendants acknowledge, and each of the other Settlement Class

Members and each of the Former Defendants shall be deemed by operation of law

to have acknowledged, that the foregoing waiver was separately bargained for and a

key element of the Settlement.

                           CLASS CERTIFICATION

      2.     Solely for purposes of the Settlement and for no other purpose,

Defendants stipulate and agree to: (a) certification of the Action as a class action

pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure on

behalf of the Settlement Class; (b) certification of Lead Plaintiff as Class

Representative for the Settlement Class; and (c) appointment of Lead Counsel as


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Class Counsel for the Settlement Class pursuant to Rule 23(g) of the Federal Rules

of Civil Procedure.

              PRELIMINARY APPROVAL OF SETTLEMENT

      3.    Within ten (10) calendar days of execution of this Stipulation, Lead

Plaintiff will move for preliminary approval of the Settlement, authorization to

provide notice of the Settlement to the Settlement Class, and the scheduling of a

hearing for consideration of final approval of the Settlement, which motion shall be

unopposed by Defendants. Concurrently with the motion for preliminary approval,

Lead Plaintiff shall apply to the Court for, and Defendants shall agree to, entry of

the Preliminary Approval Order, substantially in the form attached hereto as Exhibit

A.

                             RELEASE OF CLAIMS

      4.    The obligations incurred pursuant to this Stipulation are in

consideration of:     (a) the full and final disposition of the Action as against

Defendants; and (b) the Releases provided for herein.

      5.    Pursuant to the Judgment, or the Alternate Judgment, if applicable,

without further action by anyone, upon the Effective Date of the Settlement, Lead

Plaintiff and each of the other Settlement Class Members, on behalf of themselves,

and their respective heirs, executors, administrators, predecessors, successors, and


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assigns in their capacities as such only, and any other person or entity purporting to

claim through or on behalf of them directly or indirectly in such capacity only, shall

be deemed to have, and by operation of law and of the judgment shall have, fully,

finally, and forever compromised, settled, released, resolved, relinquished, waived,

and discharged any or all of the Released Plaintiff’s Claims against Defendants and

the other Defendants’ Releasees, and shall forever be barred and enjoined from

prosecuting or otherwise pursuing whether directly or in any other capacity, any or

all of the Released Plaintiff’s Claims against any of the Defendants’ Releasees. This

Release shall not apply to any of the Excluded Plaintiff’s Claims.

      6.     Pursuant to the Judgment, or the Alternate Judgment, if applicable,

without further action by anyone, upon the Effective Date of the Settlement,

Defendants and Former Defendants, on behalf of themselves, and their respective

heirs, executors, administrators, predecessors, successors, and assigns in their

capacities as such only, and any other person or entity purporting to claim through

or on behalf of them directly or indirectly in such capacity only, shall be deemed to

have, and by operation of law and of the judgment shall have, fully, finally, and

forever compromised, settled, released, resolved, relinquished, waived, and

discharged any or all of the Released Defendants’ Claims against Lead Plaintiff and

the other Plaintiff’s Releasees, and shall forever be barred and enjoined from


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prosecuting or otherwise pursuing whether directly or in any other capacity, any or

all of the Released Defendants’ Claims against any of the Plaintiff’s Releasees. This

Release shall not apply to any of the Excluded Defendants’ Claims.

      7.     Notwithstanding ¶¶ 5-6 above, nothing in the Judgment, or the

Alternate Judgment, if applicable, shall bar any action by any of the Parties to

enforce or effectuate the terms of this Stipulation or the Judgment, or Alternate

Judgment, if applicable.

                    THE SETTLEMENT CONSIDERATION

      8.     In consideration of the settlement of the Released Plaintiff’s Claims

against Defendants and the other Defendants’ Releasees, Equifax, on behalf of

Defendants, shall cause to be paid the Settlement Amount into the Escrow Account

no later than fifteen (15) business days after the later of: (a) the date of entry by the

Court of an order preliminarily approving this Settlement; or (b) Equifax’s

Counsel’s receipt from Lead Counsel of written payment instructions to pay the

Settlement Amount by check or wire to the Escrow Account, including payee

information, wiring instructions that include the bank name and ABA routing

number, account name, and account number, telephone and e-mail contact

information, and a physical address for the Escrow Agent, and a signed Internal

Revenue Service Form W-9 reflecting a valid taxpayer identification number for the


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qualified settlement fund in which the Settlement Amount is to be paid or deposited.

The Settlement Amount represents the entirety of Defendants’ financial obligations

under this Stipulation and in connection with this Settlement, meaning that it

includes all attorneys’ fees and expenses, Notice and Administration Costs, Taxes,

and costs of any kind whatsoever associated with the Settlement. The full payment

of the entire Settlement Amount into the Escrow Account in accordance with this

paragraph fully discharges Defendants’ financial obligations under this Stipulation

and in connection with the Settlement. Former Defendants have no responsibility as

to any of the financial obligations under this Stipulation and in connection with this

Settlement.

                         USE OF SETTLEMENT FUND

      9.      The Settlement Fund shall be used to pay: (a) any Taxes; (b) any Notice

and Administration Costs; (c) any Litigation Expenses awarded by the Court; (d) any

attorneys’ fees awarded by the Court; and (e) any other costs and fees approved by

the Court. The balance remaining in the Settlement Fund, that is, the Net Settlement

Fund, shall be distributed to Authorized Claimants as provided in ¶¶ 18-30 below.

      10.     Except as provided herein or pursuant to orders of the Court, the Net

Settlement Fund shall remain in the Escrow Account prior to the Effective Date. All

funds held by the Escrow Agent shall be deemed to be in the custody of the Court


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and shall remain subject to the jurisdiction of the Court until such time as the funds

shall be distributed or returned pursuant to the terms of this Stipulation and/or further

order of the Court. The Escrow Agent shall invest any funds in the Escrow Account

exclusively in United States Treasury Bills (or a mutual fund invested solely in such

instruments) and shall collect and reinvest all interest accrued thereon, except that

any residual cash balances up to the amount that is insured by the FDIC may be

deposited in any account that is fully insured by the FDIC. In the event that the yield

on United States Treasury Bills is negative, in lieu of purchasing such Treasury Bills,

all or any portion of the funds held by the Escrow Agent may be deposited in any

account that is fully insured by the FDIC or invested in instruments backed by the

full faith and credit of the United States. Additionally, if short-term placement of

the funds is necessary, all or any portion of the funds held by the Escrow Agent may

be deposited in any account that is fully insured by the FDIC or invested in

instruments backed by the full faith and credit of the United States.

      11.    The Parties agree that the Settlement Fund is intended to be a Qualified

Settlement Fund within the meaning of Treasury Regulation § 1.468B-1 and that

Lead Counsel, as administrator of the Settlement Fund within the meaning of

Treasury Regulation § 1.468B-2(k)(3), shall be solely responsible for filing or

causing to be filed all informational and other tax returns as may be necessary or


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appropriate (including, without limitation, the returns described in Treasury

Regulation § 1.468B-2(k)) for the Settlement Fund. Lead Counsel shall also be

responsible for causing payment to be made from the Settlement Fund of any Taxes

owed with respect to the Settlement Fund. Defendants’ Releasees shall not have any

liability or responsibility for any such Taxes. Upon written request, Defendants will

provide to Lead Counsel the statement described in Treasury Regulation § 1.468B-

3(e). Lead Counsel, as administrator of the Settlement Fund within the meaning of

Treasury Regulation § 1.468B-2(k)(3), shall timely make such elections as are

necessary or advisable to carry out this paragraph, including, as necessary, making

a “relation back election,” as described in Treasury Regulation § 1.468B-1(j), to

cause the Qualified Settlement Fund to come into existence at the earliest allowable

date, and shall take or cause to be taken all actions as may be necessary or

appropriate in connection therewith.

      12.    All Taxes shall be paid out of the Settlement Fund, and shall be timely

paid, or caused to be paid, by Lead Counsel and without further order of the Court.

Any tax returns prepared for the Settlement Fund (as well as the election set forth

therein) shall be consistent with the previous paragraph and in all events shall reflect

that all Taxes on the income earned by the Settlement Fund shall be paid out of the

Settlement Fund as provided herein.            Defendants’ Releasees shall have no


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responsibility or liability for the acts or omissions of Lead Counsel or its agents with

respect to the payment of Taxes, as described herein.

      13.    The Settlement is not a claims-made settlement. Upon the occurrence

of the Effective Date, no Defendant, Defendants’ Releasee, or any other person or

entity who or which paid any portion of the Settlement Amount, including, without

limitation, Defendants’ insurance carriers, shall have any right to the return of the

Settlement Fund or any portion thereof for any reason whatsoever, including without

limitation, the number of Claims submitted, the collective amount of Recognized

Claims of Authorized Claimants, the percentage of recovery of losses, or the

amounts to be paid to Authorized Claimants from the Net Settlement Fund.

      14.    Notwithstanding the fact that the Effective Date of the Settlement has

not yet occurred, Lead Counsel may pay up to $500,000 from the Settlement Fund,

without further approval from Defendants or further order of the Court, for Notice

and Administration Costs actually incurred and paid or payable. Such costs and

expenses shall include, without limitation, the actual costs of printing and mailing

the Notice, publishing the Summary Notice, reimbursements to nominee owners for

forwarding the Notice to their beneficial owners, the administrative expenses

incurred and fees charged by the Claims Administrator in connection with providing

notice and administering the Settlement (including processing the submitted


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Claims), and the fees, if any, of the Escrow Agent. In the event that the Settlement

is terminated pursuant to the terms of this Stipulation, all Notice and Administration

Costs paid or incurred, including any related fees, shall not be returned or repaid to

Defendants, any of the other Defendants’ Releasees, or any other person or entity

who or which paid any portion of the Settlement Amount.

             ATTORNEYS’ FEES AND LITIGATION EXPENSES

       15.    Lead Counsel will apply to the Court for a collective award of

attorneys’ fees to Plaintiff’s Counsel to be paid solely from (and out of) the

Settlement Fund. Lead Counsel also will apply to the Court for payment of

Litigation Expenses, which may include a request for reimbursement of Lead

Plaintiff’s costs and expenses directly related to its representation of the Settlement

Class, to be paid solely from (and out of) the Settlement Fund. Lead Counsel’s

application for an award of attorneys’ fees and/or Litigation Expenses is not the

subject of any agreement between Defendants and Lead Plaintiff other than what is

set forth in this Stipulation.

       16.    Any attorneys’ fees and Litigation Expenses that are awarded by the

Court shall be paid to Lead Counsel immediately upon award, notwithstanding the

existence of any timely filed objections thereto, or potential for appeal therefrom, or

collateral attack on the Settlement or any part thereof, subject to Plaintiff’s Counsel’s


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obligation to make appropriate refunds or repayments to the Settlement Fund, plus

accrued interest at the same net rate as is earned by the Settlement Fund, if the

Settlement is terminated pursuant to the terms of this Stipulation or if, as a result of

any appeal or further proceedings on remand, or successful collateral attack, the

award of attorneys’ fees and/or Litigation Expenses is reduced or reversed and such

order reducing or reversing the award has become Final. Plaintiff’s Counsel shall

make the appropriate refund or repayment in full no later than thirty (30) days after:

(a) receiving from Equifax’s Counsel notice of the termination of the Settlement; or

(b) any order reducing or reversing the award of attorneys’ fees and/or Litigation

Expenses has become Final. An award of attorneys’ fees and/or Litigation Expenses

is not a necessary term of this Stipulation and is not a condition of the Settlement

embodied herein. Neither Lead Plaintiff nor Lead Counsel may cancel or terminate

the Settlement based on this Court’s or any appellate court’s ruling with respect to

attorneys’ fees and/or Litigation Expenses.

      17.     Lead Counsel shall allocate the attorneys’ fees awarded amongst

Plaintiff’s Counsel in a manner which it, in good faith, believes reflects the

contributions of such counsel to the institution, prosecution, and settlement of the

Action.     Defendants’ Releasees shall have no responsibility for or liability

whatsoever with respect to the allocation or award of attorneys’ fees or Litigation


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Expenses.    The attorneys’ fees and Litigation Expenses that are awarded to

Plaintiff’s Counsel shall be payable solely from the Escrow Account.

             NOTICE AND SETTLEMENT ADMINISTRATION

      18.    As part of the Preliminary Approval Order, Lead Counsel shall seek

appointment of a Claims Administrator. The Claims Administrator shall administer

the Settlement, including but not limited to the process of receiving, reviewing, and

approving or denying Claims, under Lead Counsel’s supervision and subject to the

jurisdiction of the Court. Other than Equifax’s obligation to provide its security lists

as provided in ¶ 19 below, none of the Defendants, nor any of the other Defendants’

Releasees, shall have any involvement in or any responsibility, authority, or liability

whatsoever for the selection of the Claims Administrator, the Plan of Allocation, the

administration of the Settlement, the Claims process, or disbursement of the Net

Settlement Fund, and shall have no liability whatsoever to any person or entity,

including, but not limited to, Lead Plaintiff, any other Settlement Class Members, or

Lead Counsel in connection with the foregoing. Defendants and Defendants’

Counsel shall cooperate in the administration of the Settlement to the extent

reasonably necessary to effectuate its terms.

      19.    In accordance with the terms of the Preliminary Approval Order to be

entered by the Court, Lead Counsel shall cause the Claims Administrator to mail the


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Notice and Proof of Claim Form to those members of the Settlement Class as may

be identified through reasonable effort. Lead Counsel shall also cause the Claims

Administrator to have the Summary Notice published in accordance with the terms

of the Preliminary Approval Order to be entered by the Court. For the purposes of

identifying and providing notice to the Settlement Class, within ten (10) business

days of the date of entry of the Preliminary Approval Order, Equifax shall provide

or cause to be provided to the Claims Administrator in electronic format (at no cost

to the Settlement Fund, Lead Counsel, or the Claims Administrator) its security lists

(consisting of names, addresses, and, if readily available, email addresses) of the

purchasers of Equifax common stock during the Class Period.

      20.    No later than ten (10) calendar days following the filing of this

Stipulation with the Court, Defendants shall serve the notice required under the Class

Action Fairness Act, 28 U.S.C. § 1715, et seq. (“CAFA”). Defendants are solely

responsible for the costs of the CAFA notice and administering the CAFA notice.

At least seven (7) calendar days before the Settlement Fairness Hearing, Defendants

shall cause to be served on Lead Counsel and filed with the Court proof, by affidavit

or declaration, regarding compliance with the notice requirements of CAFA. The

Parties agree that any delay by Defendants in timely serving the CAFA notice will




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not provide grounds for delay of the Settlement Fairness Hearing or entry of the

Judgment.

      21.    The Claims Administrator shall receive Claims and determine first,

whether the Claim is a valid Claim, in whole or part, and second, each Authorized

Claimant’s pro rata share of the Net Settlement Fund based upon each Authorized

Claimant’s Recognized Claim compared to the total Recognized Claims of all

Authorized Claimants (as set forth in the Plan of Allocation set forth in the Notice

attached hereto as Exhibit 1 to Exhibit A, or in such other plan of allocation as the

Court approves).

      22.    The Plan of Allocation proposed in the Notice is not a necessary term

of the Settlement or of this Stipulation and it is not a condition of the Settlement or

of this Stipulation that any particular plan of allocation be approved by the Court.

Lead Plaintiff and Lead Counsel may not cancel or terminate the Settlement (or this

Stipulation) based on this Court’s or any appellate court’s ruling with respect to the

Plan of Allocation or any other plan of allocation in this Action. Defendants and the

other Defendants’ Releasees shall not object in any way to the Plan of Allocation or

any other plan of allocation in this Action. No Defendant, or any of the other

Defendants’ Releasees, shall have any involvement with or liability, obligation or




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responsibility whatsoever for the application of the Court-approved plan of

allocation.

      23.     Any Settlement Class Member who or which does not submit a valid

Claim will not be entitled to receive any distribution from the Net Settlement Fund,

but will otherwise be bound by all of the terms of this Stipulation and the Settlement,

including the terms of the Judgment or, the Alternate Judgment, if applicable, to be

entered in the Action and the Releases provided for herein and therein, and will be

permanently barred and enjoined from bringing any action, claim, or other

proceeding of any kind against the Defendants’ Releasees with respect to the

Released Plaintiff’s Claims in the event that the Effective Date occurs with respect

to the Settlement.

      24.     Lead Counsel shall be responsible for supervising the administration of

the Settlement and the disbursement of the Net Settlement Fund subject to Court

approval. No Defendant, or any other Defendants’ Releasee, shall be permitted to

review, contest, or object to any Claim, or any decision of the Claims Administrator

or Lead Counsel with respect to accepting or rejecting any Claim for payment. Lead

Counsel shall have the right, but not the obligation, to waive what it deems to be

formal or technical defects in any Claims submitted in the interests of achieving

substantial justice.


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      25.    For purposes of determining the extent, if any, to which a Settlement

Class Member shall be entitled to be treated as an Authorized Claimant, the

following conditions shall apply:

             (a)   Each Claimant shall be required to submit a Claim in paper form,

substantially in the form attached hereto as Exhibit 2 to Exhibit A, or in electronic

form, in accordance with the instructions for the submission of such Claims, and

supported by such documents as are designated therein, including proof of the

Claimant’s loss, or such other documents or proof as the Claims Administrator or

Lead Counsel, in their discretion, may deem acceptable;

             (b)   All Claims must be submitted by the date set by the Court in the

Preliminary Approval Order and specified in the Notice. Any Settlement Class

Member who fails to submit a Claim by such date shall be forever barred from

receiving any distribution from the Net Settlement Fund or payment pursuant to this

Stipulation (unless by Order of the Court such Settlement Class Member’s Claim is

accepted), but shall in all other respects be bound by all of the terms of this

Stipulation and the Settlement, including the terms of the Judgment or Alternate

Judgment, if applicable, and the Releases provided for herein and therein, and will

be permanently barred and enjoined from bringing any action, claim, or other

proceeding of any kind against any Defendants’ Releasees with respect to any


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Released Plaintiff’s Claim. Provided that it is mailed by the claim-submission

deadline, a Claim Form shall be deemed to be submitted when postmarked, if

received with a postmark indicated on the envelope and if mailed by first-class mail

and addressed in accordance with the instructions thereon. In all other cases, the

Claim Form shall be deemed to have been submitted on the date when actually

received by the Claims Administrator;

             (c)   Each Claim shall be submitted to and reviewed by the Claims

Administrator who shall determine in accordance with this Stipulation and the plan

of allocation the extent, if any, to which each Claim shall be allowed, subject to

review by the Court pursuant to subparagraph (e) below as necessary;

             (d)   Claims that do not meet the submission requirements may be

rejected. Prior to rejecting a Claim in whole or in part, the Claims Administrator

shall communicate with the Claimant in writing, to give the Claimant the chance to

remedy any curable deficiencies in the Claim submitted. The Claims Administrator

shall notify, in a timely fashion and in writing, all Claimants whose Claim the Claims

Administrator proposes to reject in whole or in part, setting forth the reasons

therefor, and shall indicate in such notice that the Claimant whose Claim is to be

rejected has the right to a review by the Court if the Claimant so desires and complies

with the requirements of subparagraph (e) below; and


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             (e)   If any Claimant whose Claim has been rejected in whole or in part

desires to contest such rejection, the Claimant must, within twenty (20) days after

the date of mailing of the notice required in subparagraph (d) above or a lesser time

period if the Claim was untimely, serve upon the Claims Administrator a notice and

statement of reasons indicating the Claimant’s grounds for contesting the rejection

along with any supporting documentation, and requesting a review thereof by the

Court. If a dispute concerning a Claim cannot be otherwise resolved, Lead Counsel

shall thereafter present the request for review to the Court.

      26.    Each Claimant shall be deemed to have submitted to the jurisdiction of

the Court with respect to the Claimant’s Claim, and the Claim will be subject to

investigation and discovery under the Federal Rules of Civil Procedure, provided,

however, that such investigation and discovery shall be limited to that Claimant’s

status as a Settlement Class Member and the validity and amount of the Claimant’s

Claim. No discovery shall be allowed on the merits of this Action or of the

Settlement in connection with the processing of Claims.

      27.    Lead Counsel will apply to the Court, on notice to Defendants’ Counsel,

for a Class Distribution Order: (a) approving the Claims Administrator’s

administrative determinations concerning the acceptance and rejection of the Claims

submitted; (b) approving payment of any administration fees and expenses


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associated with the administration of the Settlement from the Escrow Account; and

(c) if the Effective Date has occurred, directing payment of the Net Settlement Fund

to Authorized Claimants from the Escrow Account.

      28.    Payment pursuant to the Class Distribution Order shall be final and

conclusive against all Claimants. All Settlement Class Members whose Claims are

not approved by the Court for payment shall be barred from participating in

distributions from the Net Settlement Fund, but otherwise shall be bound by all of

the terms of this Stipulation and the Settlement, including the terms of the Judgment

or Alternate Judgment, if applicable, to be entered in this Action and the Releases

provided for herein and therein, and will be permanently barred and enjoined from

bringing any action against any and all Defendants’ Releasees with respect to any

and all of the Released Plaintiff’s Claims.

      29.    No person or entity shall have any claim against Lead Plaintiff, Lead

Counsel, the Claims Administrator, or any other agent designated by Lead Counsel,

or Defendants’ Releasees and/or their respective counsel, arising from distributions

made substantially in accordance with the Stipulation, the plan of allocation

approved by the Court, or any order of the Court. Lead Plaintiff and Defendants,

and their respective counsel, and Lead Plaintiff’s damages expert and all other

Releasees shall have no liability whatsoever for the investment or distribution of the


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Settlement Fund or the Net Settlement Fund, the plan of allocation, or the

determination, administration, calculation, or payment of any claim or

nonperformance of the Claims Administrator, the payment or withholding of taxes

(including interest and penalties) owed by the Settlement Fund, or any losses

incurred in connection therewith.

      30.    All proceedings with respect to the administration, processing, and

determination of Claims and the determination of all controversies relating thereto,

including disputed questions of law and fact with respect to the validity of Claims,

shall be subject to the jurisdiction of the Court. All Settlement Class Members, other

Claimants, and parties to this Settlement expressly waive trial by jury (to the extent

any such right may exist) and any right of appeal or review with respect to such

determinations.

                         TERMS OF THE JUDGMENT

      31.    If the Settlement contemplated by this Stipulation is approved by the

Court, Lead Counsel and Defendants’ Counsel shall request that the Court enter a

Judgment, substantially in the form attached hereto as Exhibit B.

              CONDITIONS OF SETTLEMENT AND EFFECT OF
            DISAPPROVAL, CANCELLATION, OR TERMINATION

      32.    The Effective Date of the Settlement shall be deemed to occur on the

occurrence or waiver of all of the following events:

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             (a)    the Court has entered the Preliminary Approval Order,

substantially in the form set forth in Exhibit A attached hereto, as required by ¶ 3

above;

             (b)    the Settlement Amount has been deposited into the Escrow

Account in accordance with the provisions of ¶ 8 above;

             (c)    Equifax has not exercised its option to terminate the Settlement

pursuant to the provisions of this Stipulation;

             (d)    Lead Plaintiff has not exercised its option to terminate the

Settlement pursuant to the provisions of this Stipulation; and

             (e)    the Court has approved the Settlement as described herein,

following notice to the Settlement Class and a hearing, as prescribed by Rule 23 of

the Federal Rules of Civil Procedure, and entered the Judgment and the Judgment

has become Final, or the Court has entered an Alternate Judgment and neither Lead

Plaintiff nor Equifax seek to terminate the Settlement and the Alternate Judgment

has become Final.

      33.    Upon the occurrence of all of the events referenced in ¶ 32 above, any

and all remaining interest or right of Defendants or their insurance carriers in or to

the Settlement Fund, if any, shall be absolutely and forever extinguished and the

Releases herein shall be effective.


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      34.      If (i) Equifax exercises its right to terminate the Settlement as provided

in this Stipulation; (ii) Lead Plaintiff exercises its right to terminate the Settlement

as provided in this Stipulation; (iii) the Court disapproves the Settlement; or (iv) the

Effective Date as to the Settlement otherwise fails to occur, then:

               (a)   The Settlement and the relevant portions of this Stipulation shall

be canceled and terminated.

               (b)   Lead Plaintiff and Defendants shall revert to their respective

positions in the Action as of immediately prior to the execution of the Term Sheet

on November 16, 2019, and the Settlement Class (if previously certified) will be

decertified.

               (c)   The terms and provisions of this Stipulation, with the exception

of this ¶ 34 and ¶¶ 14, 16, 38, 58, and 59 shall have no further force and effect with

respect to the Parties and shall not be used in the Action or in any other proceeding

for any purpose, and any Judgment, or Alternate Judgment, if applicable, or order

entered by the Court in accordance with the terms of this Stipulation shall be treated

as vacated, nunc pro tunc.

               (d)   Within five (5) business days after joint written notification of

termination is sent by Equifax’s Counsel and Lead Counsel to the Escrow Agent, the

Settlement Fund (including accrued interest thereon, and change in value as a result


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of the investment of the Settlement Fund, and any funds received by Lead Counsel

consistent with ¶ 16 above), less any Notice and Administration Costs actually

incurred, paid, or payable and less any Taxes paid, due, or owing shall be refunded

by the Escrow Agent to Equifax (or such other persons or entities as Equifax may

direct). In the event that the funds received by Lead Counsel consistent with ¶ 16

above have not been refunded to the Settlement Fund within the five (5) business

days specified in this paragraph, those funds shall be refunded by the Escrow Agent

to Equifax (or such other persons or entities as Equifax may direct) immediately

upon their deposit into the Escrow Account consistent with ¶ 16 above.

      35.    It is further stipulated and agreed that Lead Plaintiff and Equifax shall

each have the right to terminate the Settlement and this Stipulation, by providing

written notice of their election to do so (“Termination Notice”) to the other Parties

to this Stipulation within thirty (30) days of: (a) the Court’s final refusal to enter the

Preliminary Approval Order in any material respect; (b) the Court’s final refusal to

approve the Settlement or any material part thereof; (c) the Court’s final refusal to

enter the Judgment in any material respect as to the Settlement; (d) the date upon

which the Judgment is modified or reversed in any material respect by the United

States Court of Appeals for the Eleventh Circuit or the United States Supreme Court;

or (e) the date upon which an Alternate Judgment is modified or reversed in any


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material respect by the United States Court of Appeals for the Eleventh Circuit or

the United States Supreme Court, and the provisions of ¶ 34 above shall apply.

However, any decision or proceeding, whether in this Court or any appellate court,

with respect to an application for an award of attorneys’ fees or Litigation Expenses

or with respect to any plan of allocation shall not be considered material to the

Settlement, shall not affect the finality of any Judgment or Alternate Judgment, if

applicable, and shall not be grounds for termination of the Settlement.

      36.    In addition to the grounds set forth in ¶ 35 above, Equifax shall have

the right to terminate the Settlement in the event that Settlement Class Members

timely and validly requesting exclusion from the Settlement Class meet the

conditions set forth in Equifax’s confidential supplemental agreement with Lead

Plaintiff (the “Supplemental Agreement”), in accordance with the terms of that

agreement. The Supplemental Agreement, which is being executed concurrently

herewith, shall not be filed with the Court and its terms shall not be disclosed in any

other manner (other than the statements herein and in the Notice, to the extent

necessary, or as otherwise provided in the Supplemental Agreement) unless the

Court otherwise directs or a dispute arises between Lead Plaintiff and Equifax

concerning its interpretation or application, in which event the Parties shall submit




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the Supplemental Agreement to the Court in camera and request that the Court afford

it confidential treatment.

      37.    In addition to the grounds set forth in ¶ 35 above, Lead Plaintiff shall

also have the right to terminate the Settlement in the event that the Settlement

Amount has not been paid as provided for in ¶ 8 above, but only if (a) Lead Counsel

has first notified Defendants’ Counsel in writing of Lead Plaintiff’s intent to

terminate pursuant to this paragraph, and (b) the entire Settlement Amount is not

deposited in the Escrow Account within five (5) business days after Lead Counsel

has provided such written notice.

                     NO ADMISSION OF WRONGDOING

      38.    Neither the Term Sheet, this Stipulation (whether or not consummated),

including the exhibits hereto and the Plan of Allocation contained therein (or any

other plan of allocation that may be approved by the Court), the negotiations leading

to the execution of the Term Sheet and this Stipulation, nor any proceedings taken

pursuant to or in connection with the Term Sheet, this Stipulation, and/or approval

of the Settlement (including any arguments proffered in connection therewith):

             (a)   shall be offered against any of the Defendants’ Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Defendants’ Releasees with respect to the


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truth of any fact alleged by Lead Plaintiff or the validity of any claim that was or

could have been asserted or the deficiency of any defense that has been or could

have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Defendants’

Releasees, or in any way referred to for any other reason as against any of the

Defendants’ Releasees, in any arbitration proceeding or other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of this Stipulation;

             (b)   shall be offered against any of the Plaintiff’s Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Plaintiff’s Releasees that any of their claims

are without merit, that any of the Defendants’ Releasees had meritorious defenses,

or that damages recoverable under the Complaint would not have exceeded the

Settlement Amount, or with respect to any liability, negligence, fault, or wrongdoing

of any kind, or in any way referred to for any other reason as against any of the

Plaintiff’s Releasees, in any arbitration proceeding or other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of this Stipulation;




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             (c)   shall be offered as evidence of, or construed as evidence of, any

presumption, concession, or admission that class certification is appropriate in this

Action, except for purposes of this Settlement; or

             (d)   shall be construed against any of the Releasees as an admission,

concession, or presumption that the consideration to be given hereunder represents

the amount which could be or would have been recovered after trial;

provided, however, that if this Stipulation is approved by the Court, the Parties and

the Releasees and their respective counsel may refer to it to effectuate the protections

from liability granted hereunder or otherwise to enforce the terms of the Settlement.

                       MISCELLANEOUS PROVISIONS

      39.    All of the exhibits attached hereto are hereby incorporated by reference

as though fully set forth herein. Notwithstanding the foregoing, in the event that

there exists a conflict or inconsistency between the terms of this Stipulation and the

terms of any exhibit attached hereto, the terms of the Stipulation shall prevail.

      40.    Defendants warrant that, as to the payments made or to be made on

behalf of them, at the time of entering into this Stipulation and at the time of such

payment they, or to the best of their knowledge any persons or entities contributing

to the payment of the Settlement Amount, were not insolvent, nor will the payment

required to be made by or on behalf of them render them insolvent, within the


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meaning of and/or for the purposes of the United States Bankruptcy Code, including

§§ 101 and 547 thereof. This representation is made by each of the Defendants and

not by their counsel.

      41.    In the event of the entry of a final order of a court of competent

jurisdiction determining the transfer of money to the Settlement Fund or any portion

thereof by or on behalf of Defendants to be a preference, voidable transfer,

fraudulent transfer, or similar transaction and any portion thereof is required to be

returned, and such amount is not promptly deposited into the Settlement Fund by

others, then, at the election of Lead Plaintiff, Lead Plaintiff and Defendants shall

jointly move the Court to vacate and set aside the Releases given and the Judgment

or Alternate Judgment, if applicable, entered in favor of Defendants and the other

Releasees pursuant to this Stipulation, in which event the Releases and Judgment, or

Alternate Judgment, if applicable, shall be null and void, and the Parties shall be

restored to their respective positions in the litigation as provided in ¶ 34 above and

any cash amounts in the Settlement Fund (less any Taxes paid, due, or owing with

respect to the Settlement Fund and less any Notice and Administration Costs actually

incurred, paid, or payable) shall be returned as provided in ¶ 34 above.

      42.    The Parties intend this Stipulation and the Settlement to be a final and

complete resolution of all disputes asserted or which could be asserted by Lead


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Plaintiff and any other Settlement Class Members against the Defendants’ Releasees

with respect to the Released Plaintiff’s Claims. No Party shall assert any claims of

any violation of Rule 11 of the Federal Rules of Civil Procedure relating to the

institution, prosecution, defense, or settlement of this Action. The Parties agree that

the amounts paid and the other terms of the Settlement were negotiated at arm’s

length and in good faith by the Parties, including through a mediation process

supervised and conducted by the Honorable Layn R. Phillips, and reflect the

Settlement that was reached voluntarily after extensive negotiations and consultation

with experienced legal counsel, who were fully competent to assess the strengths

and weaknesses of their respective clients’ claims or defenses.

      43.    While retaining their right to deny any wrongful conduct or liability or

that the claims asserted in the Action were meritorious, Defendants and their

counsel, in any statement made to any media representative (whether or not for

attribution) will not assert that the Action was commenced or prosecuted in bad faith,

nor will they deny that the Action was commenced and prosecuted in good faith and

is being settled voluntarily after consultation with competent legal counsel.

Similarly, while retaining their right to deny that the defenses asserted in the Action

were meritorious, Lead Plaintiff and its counsel, in any statement made to any media

representative (whether or not for attribution), will not assert that the Action was


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defended in bad faith, nor will they deny that the Action was defended in good faith

and is being settled voluntarily after consultation with competent legal counsel. In

all events, Lead Plaintiff and its counsel and Defendants and their counsel shall not

make any accusations of wrongful or actionable conduct by either Party concerning

the prosecution, defense, and resolution of the Action, and shall not otherwise

suggest that the Settlement constitutes an admission of any claim or defense alleged.

Lead Plaintiff and Defendants agree that there will be no public announcements

regarding this Settlement until: (a) Equifax has announced or disclosed it; or

(b) three (3) business days after the filing of this Stipulation with the Court,

whichever comes first. Equifax shall make reasonable efforts to provide Lead

Counsel with notice of any initial public announcement regarding this Settlement

three (3) business days prior to such announcement.

       44.   The terms of the Settlement, as reflected in this Stipulation, may not be

modified or amended, nor may any of its provisions be waived except by a writing

signed on behalf of both Lead Plaintiff and Defendants (or their successors-in-

interest).

       45.   The headings herein are used for the purpose of convenience only and

are not meant to have legal effect.




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      46.      The administration and consummation of the Settlement as embodied

in this Stipulation shall be under the authority of the Court, and the Court shall retain

jurisdiction for the purpose of entering orders providing for awards of attorneys’ fees

and Litigation Expenses to Plaintiff’s Counsel and enforcing the terms of this

Stipulation, including the Plan of Allocation (or such other plan of allocation as may

be approved by the Court) and the distribution of the Net Settlement Fund to

Settlement Class Members.

      47.      The waiver by one Party of any breach of this Stipulation by any other

Party shall not be deemed a waiver of any other prior or subsequent breach of this

Stipulation.

      48.      This Stipulation and its exhibits and the Supplemental Agreement

constitute the entire agreement among Lead Plaintiff and Defendants concerning the

Settlement and this Stipulation and its exhibits. All Parties acknowledge that no

other agreements, representations, warranties, or inducements have been made by

any Party hereto concerning this Stipulation, its exhibits, or the Supplemental

Agreement other than those contained and memorialized in such documents.

      49.      This Stipulation may be executed in one or more counterparts,

including by signature transmitted via facsimile, or by a .pdf/.tif image of the




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signature transmitted via email. All executed counterparts and each of them shall be

deemed to be one and the same instrument.

      50.    This Stipulation shall be binding upon and inure to the benefit of the

successors and assigns of the Parties, including any and all Releasees and any

corporation, partnership, or other entity into or with which any Party hereto may

merge, consolidate, or reorganize.

      51.    The construction, interpretation, operation, effect, and validity of this

Stipulation, the Supplemental Agreement, and all documents necessary to effectuate

it shall be governed by the internal laws of the State of Georgia without regard to

conflicts of laws, except to the extent that federal law requires that federal law

govern.

      52.    Any action arising under or to enforce this Stipulation or any portion

thereof, shall be commenced and maintained only in the Court.

      53.    This Stipulation shall not be construed more strictly against one Party

than another merely by virtue of the fact that it, or any part of it, may have been

prepared by counsel for one of the Parties, it being recognized that it is the result of

arm’s-length negotiations between the Parties and all Parties have contributed

substantially and materially to the preparation of this Stipulation.




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      54.    All counsel and any other person executing this Stipulation and any of

the exhibits hereto, or any related Settlement documents, warrant and represent that

they have the full authority to do so and that they have the authority to take

appropriate action required or permitted to be taken pursuant to the Stipulation to

effectuate its terms.

      55.    Lead Counsel and Defendants’ Counsel agree to cooperate fully with

one another in seeking Court approval of the Preliminary Approval Order and the

Settlement, as embodied in this Stipulation, and to use best efforts to promptly agree

upon and execute all such other documentation as may be reasonably required to

obtain final approval by the Court of the Settlement.

      56.    If any Party is required to give notice to another Party under this

Stipulation, such notice shall be in writing and shall be deemed to have been duly

given upon receipt of hand delivery or facsimile or email transmission, with

confirmation of receipt. Notice shall be provided as follows:

 If to Lead Plaintiff or Lead         Bernstein Litowitz Berger & Grossmann LLP
 Counsel:                             Attn: James A. Harrod, Esq.
                                      1251 Avenue of the Americas
                                      New York, NY 10020
                                      Telephone: (212) 554-1400
                                      Facsimile: (212) 554-1444
                                      Email: jim.harrod@blbglaw.com




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 If to Defendant Equifax:             King & Spalding LLP
                                      Attn: Michael R. Smith, Esq.
                                             B. Warren Pope, Esq.
                                      1180 Peachtree Street N.E.
                                      Atlanta, GA 30309
                                      Telephone: (404) 572-4600
                                      Facsimile: (404) 572-5100
                                      Email: mrsmith@kslaw.com
                                              wpope@kslaw.com

 If to Defendant Smith:                Quinn Emanuel Urquhart & Sullivan, LLP
                                       Attn: Steven G. Madison, Esq.
                                             Michael E. Liftik, Esq.
                                       865 S. Figueroa Street, 10th Floor
                                       Los Angeles, CA 90017
                                       Telephone: (202) 538-8000
                                       Facsimile: (202) 538-8100
                                       Email: stevemadison@quinnemanuel.com
                                               michaelliftik@quinnemanuel.com

         57.   Except as otherwise provided herein, each Party shall bear its own

costs.

         58.   Whether or not the Stipulation is approved by the Court and whether or

not the Stipulation is consummated, or the Effective Date occurs, the Parties and

their counsel shall use their best efforts to keep all negotiations, discussions, acts

performed, agreements, drafts, documents signed, and proceedings in connection

with the Stipulation confidential, except where disclosure may be required by law.

         59.   All agreements made and orders entered during the course of this

Action relating to the confidentiality of information shall survive this Settlement.



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                  EXHIBIT A
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                                                                          Exhibit A
                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



IN RE EQUIFAX INC. SECURITIES                  Consolidated Case No.
LITIGATION                                     1:17-cv-03463-TWT



 [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT
AND AUTHORIZING DISSEMINATION OF NOTICE OF SETTLEMENT

      WHEREAS, a consolidated securities class action is pending in this Court

entitled In re Equifax Inc. Securities Litigation, Consolidated Case No. 1:17-cv-

03463-TWT (the “Action”);

      WHEREAS, (a) lead plaintiff Union Asset Management Holding AG (“Lead

Plaintiff”), on behalf of itself and the Settlement Class (defined below); and

(b) defendants Equifax Inc. (“Equifax” or the “Company”) and Richard F. Smith

(“Smith” and, together with Equifax, “Defendants”) (Lead Plaintiff and

Defendants, collectively, the “Parties”), have determined to settle and dismiss with

prejudice all claims asserted in this Action on the terms and conditions set forth in

the Stipulation and Agreement of Settlement dated February 12, 2020 (the

“Stipulation”) subject to approval of this Court (the “Settlement”);
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      WHEREAS, Lead Plaintiff has made a motion, pursuant to Rule 23(e)(1) of

the Federal Rules of Civil Procedure, for an order preliminarily approving the

Settlement in accordance with the Stipulation and allowing notice to Settlement

Class Members as more fully described herein;

      WHEREAS, the Court has read and considered: (a) Lead Plaintiff’s motion

for preliminary approval of the Settlement and authorization to send notice of the

Settlement to the Settlement Class, and the papers filed and arguments made in

connection therewith; and (b) the Stipulation and the exhibits attached thereto; and

      WHEREAS, unless otherwise defined herein, all capitalized words

contained herein shall have the same meanings as they have in the Stipulation;

      NOW THEREFORE, IT IS HEREBY ORDERED:

      1.     Proposed Class Certification for Settlement Purposes – The Parties

have proposed the certification of the following Settlement Class pursuant to Rule

23(a) and (b)(3) of the Federal Rules of Civil Procedure and solely for purposes of

effectuating the proposed Settlement: all persons and entities who purchased or

otherwise acquired publicly-traded Equifax common stock during the period from

February 25, 2016 through September 15, 2017, inclusive (the “Class Period”), and

who were damaged thereby (the “Settlement Class”).             Excluded from the

Settlement Class are: (i) the Defendants and Former Defendants; (ii) any current or


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former Officers or directors of Equifax who served in such capacities during the

Class Period; (iii) the Immediate Family Members of Defendant Smith, the Former

Defendants, or any current or former Officer or director of Equifax who served in

such capacities during the Class Period; (iv) any entity that any Defendant or

Former Defendant owns or controls, or owned or controlled during the Class

Period; (v) any affiliates, parents, or subsidiaries of Equifax; and (vi) the legal

representatives, heirs, successors, and assigns of any such excluded persons and

entities. Also excluded from the Settlement Class are any persons or entities who

or which exclude themselves by submitting a request for exclusion that is accepted

by the Court.

      2.     Class Findings – The Court finds, pursuant to Rule 23(e)(1)(B)(ii) of

the Federal Rules of Civil Procedure, that it will likely be able to certify the

Settlement Class for purposes of the proposed Settlement. Specifically, and solely

for purposes of the proposed Settlement of this Action, the Court finds that each

element required for certification of the Settlement Class pursuant to Rule 23 of the

Federal Rules of Civil Procedure has been met or will likely be met: (a) the

members of the Settlement Class are so numerous that their joinder in the Action

would be impracticable; (b) there are questions of law and fact common to the

Settlement Class which predominate over any individual questions; (c) the claims


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of Lead Plaintiff in the Action are typical of the claims of the Settlement Class;

(d) Lead Plaintiff and Lead Counsel have and will fairly and adequately represent

and protect the interests of the Settlement Class; and (e) a class action is superior to

other available methods for the fair and efficient adjudication of the Action.

      3.     The Court also finds, pursuant to Rule 23(e)(1)(B)(ii) of the Federal

Rules of Civil Procedure, and for the purposes of the Settlement only, that it will

likely be able to certify Lead Plaintiff Union Asset Management Holding AG as

Class Representative for the Settlement Class and appoint Lead Counsel Bernstein

Litowitz Berger & Grossmann LLP as Class Counsel for the Settlement Class

pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

      4.     Preliminary Approval of the Settlement – The Court hereby

preliminarily approves the Settlement, as embodied in the Stipulation, and finds,

pursuant to Rule 23(e)(1)(B)(i) of the Federal Rules of Civil Procedure, that it will

likely be able to finally approve the Settlement under Rule 23(e)(2) as being fair,

reasonable, and adequate to the Settlement Class, subject to further consideration at

the Settlement Fairness Hearing to be conducted as described below.

      5.     Settlement Fairness Hearing – The Court will hold a settlement

hearing (the “Settlement Fairness Hearing”) on _____________________, 2020 at

__:__ _.m. in Courtroom 2108 of the Richard B. Russell Federal Building and


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United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303, for the

following purposes: (a) to determine whether the proposed Settlement on the terms

and conditions provided for in the Stipulation is fair, reasonable, and adequate to

the Settlement Class, and should be finally approved by the Court; (b) to determine

whether, for purposes of the Settlement only, the Action should be certified as a

class action on behalf of the Settlement Class, Lead Plaintiff should be certified as

Class Representative for the Settlement Class, and Lead Counsel should be

appointed as Class Counsel for the Settlement Class; (c) to determine whether a

Judgment substantially in the form attached as Exhibit B to the Stipulation should

be entered dismissing the Action with prejudice against Defendants; (d) to

determine whether the proposed Plan of Allocation for the proceeds of the

Settlement is fair and reasonable and should be approved; (e) to determine whether

the motion by Lead Counsel for an award of attorneys’ fees and payment of

Litigation Expenses should be approved; and (f) to consider any other matters that

may properly be brought before the Court in connection with the Settlement.

Notice of the Settlement and the Settlement Fairness Hearing shall be given to

Settlement Class Members as set forth in paragraph 7 of this Order.

      6.     The Court may adjourn the Settlement Fairness Hearing without

further notice to the Settlement Class, and may approve the proposed Settlement


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with such modifications as the Parties may agree to, if appropriate, without further

notice to the Settlement Class.

      7.     Retention of Claims Administrator and Manner of Giving Notice

– Lead Counsel is hereby authorized to retain JND Legal Administration (the

“Claims Administrator”) to supervise and administer the notice procedure in

connection with the proposed Settlement as well as the processing of Claims as

more fully set forth below. Notice of the Settlement and the Settlement Fairness

Hearing shall be given by Lead Counsel as follows:

             (a)   Not later than ten (10) business days after the date of entry of

this Order, Equifax shall, at no cost to the Settlement Fund, Lead Counsel, or the

Claims Administrator, provide or cause to be provided to the Claims Administrator

in electronic format its security lists containing names, mailing addresses, and, if

readily available, email addresses, of the purchasers of Equifax common stock

during the Class Period;

             (b)   not later than twenty (20) business days after the date of entry

of this Order (such date that is twenty (20) business days after the date of entry of

this Order, the “Notice Date”), the Claims Administrator shall cause a copy of the

Notice and the Claim Form, substantially in the forms attached hereto as Exhibits 1

and 2, respectively (the “Notice Packet”), to be mailed by first-class mail and/or


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emailed to potential Settlement Class Members at the addresses set forth in the

records provided by Equifax or in the records which Equifax caused to be

provided, or who otherwise may be identified through further reasonable effort;

             (c)   contemporaneously with the mailing of the Notice Packet, the

Claims Administrator shall cause copies of the Notice and the Claim Form to be

posted on a website to be developed for the Settlement, from which copies of the

Notice and Claim Form can be downloaded;

             (d)   not later than ten (10) business days after the Notice Date, the

Claims Administrator shall cause the Summary Notice, substantially in the form

attached hereto as Exhibit 3, to be published once in the Wall Street Journal and to

be transmitted once over the PR Newswire; and

             (e)   not later than seven (7) calendar days prior to the Settlement

Fairness Hearing, Lead Counsel shall serve on Defendants’ Counsel and file with

the Court proof, by affidavit or declaration, of such mailing and publication.

      8.     Approval of Form and Content of Notice – The Court (a) approves,

as to form and content, the Notice, the Claim Form, and the Summary Notice,

attached hereto as Exhibits 1, 2, and 3, respectively, and (b) finds that the mailing

and distribution of the Notice and Claim Form and the publication of the Summary

Notice in the manner and form set forth in paragraph 7 of this Order (i) is the best


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notice practicable under the circumstances; (ii) constitutes notice that is reasonably

calculated, under the circumstances, to apprise Settlement Class Members of the

pendency of the Action, of the effect of the proposed Settlement (including the

Releases to be provided thereunder), of Lead Counsel’s motion for an award of

attorneys’ fees and Litigation Expenses, of their right to object to the Settlement,

the Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and

Litigation Expenses, of their right to exclude themselves from the Settlement

Class, and of their right to appear at the Settlement Fairness Hearing;

(iii) constitutes due, adequate, and sufficient notice to all persons and entities

entitled to receive notice of the proposed Settlement; and (iv) satisfies the

requirements of Rule 23 of the Federal Rules of Civil Procedure, the United States

Constitution (including the Due Process Clause), the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law

and rules. The date and time of the Settlement Fairness Hearing shall be included

in the Notice and Summary Notice before they are mailed and published,

respectively.

      9.        Nominee Procedures – Brokers and other nominees who purchased

or otherwise acquired publicly-traded Equifax common stock during the Class

Period for the benefit of another person or entity shall:       (a) within seven (7)


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calendar days of receipt of the Notice, request from the Claims Administrator

sufficient copies of the Notice Packet to forward to all such beneficial owners, and

within seven (7) calendar days of receipt of those Notice Packets forward them to

all such beneficial owners; or (b) within seven (7) calendar days of receipt of the

Notice, send a list of the names, mailing addresses, and, if available, email

addresses, of all such beneficial owners to the Claims Administrator in which event

the Claims Administrator shall promptly mail or email the Notice Packet to such

beneficial owners. Upon full compliance with this Order, such nominees may seek

payment of their reasonable expenses actually incurred in complying with this

Order by providing the Claims Administrator with proper documentation

supporting the expenses for which reimbursement is sought.           Such properly

documented expenses incurred by nominees in compliance with the terms of this

Order shall be paid from the Settlement Fund, with any disputes as to the

reasonableness or documentation of expenses incurred subject to review by the

Court.

         10.   CAFA Notice – As provided in the Stipulation, Defendants shall

serve the notice required under the Class Action Fairness Act, 28 U.S.C. § 1715, et

seq. (“CAFA”) no later than ten (10) calendar days following the filing of the

Stipulation with the Court. Defendants are solely responsible for the costs of the


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CAFA notice and administering the CAFA notice.             No later than seven (7)

calendar days before the Settlement Fairness Hearing, Defendants shall cause to be

served on Lead Counsel and filed with the Court proof, by affidavit or declaration,

regarding compliance with the notice requirements of CAFA.

      11.    Participation in the Settlement – Settlement Class Members who

wish to participate in the Settlement and to be eligible to receive a distribution

from the Net Settlement Fund must complete and submit a Claim Form in

accordance with the instructions contained therein.        Unless the Court orders

otherwise, all Claim Forms must be postmarked no later than one hundred twenty

(120) calendar days after the Notice Date. Notwithstanding the foregoing, Lead

Counsel may, at its discretion, accept for processing late Claims provided such

acceptance does not delay the distribution of the Net Settlement Fund to the

Settlement Class. By submitting a Claim, a person or entity shall be deemed to

have submitted to the jurisdiction of the Court with respect to his, her, or its Claim

and the subject matter of the Settlement.

      12.    Each Claim Form submitted must satisfy the following conditions:

(a) it must be properly completed, signed, and submitted in a timely manner in

accordance with the provisions of the preceding paragraph; (b) it must be

accompanied by adequate supporting documentation for the transactions and


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holdings reported therein, in the form of broker confirmation slips, broker account

statements, an authorized statement from the broker containing the transactional

and holding information found in a broker confirmation slip or account statement,

or such other documentation as is deemed adequate by Lead Counsel or the Claims

Administrator; (c) if the person executing the Claim Form is acting in a

representative capacity, a certification of his, her, or its current authority to act on

behalf of the Settlement Class Member must be included in the Claim Form to the

satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim Form

must be complete and contain no material deletions or modifications of any of the

printed matter contained therein and must be signed under penalty of perjury. For

purposes of carrying out its duties in the administration of the Settlement, the

Claims Administrator may require Claimants to provide certain personal

information in their Claim Forms, including (without limitation): full name, street

address, phone number, and (for Claimants which are not natural persons) the last

four (4) digits of any applicable Taxpayer Identification Number.

      13.    Any Settlement Class Member that does not timely and validly submit

a Claim Form or whose Claim is not otherwise approved by the Court: (a) shall be

deemed to have waived his, her, or its right to share in the Net Settlement Fund;

(b) shall be forever barred from participating in any distributions therefrom;


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(c) shall be bound by the provisions of the Stipulation and the Settlement and all

proceedings, determinations, orders, and judgments in the Action relating thereto,

including, without limitation, the Judgment or Alternate Judgment, if applicable,

and the Releases provided for therein, whether favorable or unfavorable to the

Settlement Class; and (d) will be barred from commencing, maintaining, or

prosecuting any of the Released Plaintiff’s Claims against each and all of the

Defendants’ Releasees, as more fully described in the Stipulation and Notice.

Notwithstanding the foregoing, late Claim Forms may be accepted for processing

as set forth in paragraph 11 above.

      14.    Exclusion From the Settlement Class – Any member of the

Settlement Class who wishes to exclude himself, herself, or itself from the

Settlement Class must request exclusion in writing within the time and in the

manner set forth in the Notice, which shall provide that: (a) any such request for

exclusion from the Settlement Class must be mailed or delivered such that it is

received no later than twenty-one (21) calendar days prior to the Settlement

Fairness Hearing, to:    Equifax Securities Litigation, EXCLUSIONS, c/o JND

Legal Administration, PO Box 91319, Seattle, WA 98111, and (b) each request for

exclusion must (i) state the name, address, and telephone number of the person or

entity requesting exclusion, and in the case of entities, the name and telephone


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number of the appropriate contact person; (ii) state that such person or entity

“requests exclusion from the Settlement Class in In re Equifax Inc. Securities

Litigation, Case No. 1:17-cv-03463-TWT”; (iii) state the number of shares of

publicly-traded Equifax common stock that the person or entity requesting

exclusion (A) owned as of the opening of trading on February 25, 2016 and

(B) purchased/acquired and/or sold during the Class Period, as well as the dates,

number of shares, and prices of each such purchase/acquisition and sale; and

(iv) be signed by the person or entity requesting exclusion or an authorized

representative. A request for exclusion shall not be effective unless it provides all

the required information and is received within the time stated above, or is

otherwise accepted by the Court. Lead Counsel is authorized to request from any

person or entity requesting exclusion documentation sufficient to prove the

information called for above.

      15.    Any person or entity who or which timely and validly requests

exclusion in compliance with the terms stated in this Order and is excluded from

the Settlement Class shall not be a Settlement Class Member, shall not be bound by

the terms of the Settlement or any orders or judgments in the Action, and shall not

receive any payment out of the Net Settlement Fund.




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      16.     Any Settlement Class Member who or which does not timely and

validly request exclusion from the Settlement Class in the manner stated in this

Order: (a) shall be deemed to have waived his, her, or its right to be excluded from

the Settlement Class; (b) shall be forever barred from requesting exclusion from

the Settlement Class in this or any other proceeding; (c) shall be bound by the

provisions of the Stipulation and Settlement and all proceedings, determinations,

orders, and judgments in the Action, including, but not limited to, the Judgment or

Alternate Judgment, if applicable, and the Releases provided for therein, whether

favorable or unfavorable to the Settlement Class; and (d) will be barred from

commencing, maintaining, or prosecuting any of the Released Plaintiff’s Claims

against any of the Defendants’ Releasees, as more fully described in the Stipulation

and Notice.

      17.     Appearance and Objections at Settlement Fairness Hearing – Any

Settlement Class Member who or which does not request exclusion from the

Settlement Class may enter an appearance in the Action, at his, her, or its own

expense, individually or through counsel of his, her, or its own choice, by filing

with the Court and delivering a notice of appearance to both Lead Counsel and

Equifax’s Counsel, at the addresses set forth in paragraph 18 below, such that it is

received no later than twenty-one (21) calendar days prior to the Settlement


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Fairness Hearing, or as the Court may otherwise direct. Any Settlement Class

Member who or which does not enter an appearance will be represented by Lead

Counsel.

      18.   Any Settlement Class Member who or which does not request

exclusion from the Settlement Class may file a written objection to the proposed

Settlement, the proposed Plan of Allocation, and/or Lead Counsel’s motion for an

award of attorneys’ fees and Litigation Expenses and appear and show cause, if he,

she, or it has any cause, why the proposed Settlement, the proposed Plan of

Allocation, and/or Lead Counsel’s motion for attorneys’ fees and Litigation

Expenses should not be approved; provided, however, that no Settlement Class

Member shall be heard or entitled to contest the approval of the terms and

conditions of the proposed Settlement, the proposed Plan of Allocation, and/or the

motion for attorneys’ fees and Litigation Expenses unless that person or entity has

filed a written objection with the Court and served copies of such objection on

Lead Counsel and Equifax’s Counsel at the addresses set forth below such that

they are received no later than twenty-one (21) calendar days prior to the

Settlement Fairness Hearing.

              Lead Counsel                              Equifax’s Counsel
       Bernstein Litowitz Berger &                     King & Spalding LLP
            Grossmann LLP                              Michael R. Smith, Esq.


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         James A. Harrod, Esq.                              B. Warren Pope
 1251 Avenue of the Americas, 44th Floor               1180 Peachtree Street N.E.
         New York, NY 10020                               Atlanta, GA 30309

      19.    Any objections, filings, and other submissions by the objecting

Settlement Class Member must include: (1) the name of this proceeding, In re

Equifax Inc. Securities Litigation, Case No. 1:17-cv-03463-TWT, or similar

identifying words such as “Equifax Securities Litigation”; (2) the objector’s full

name, current address, and telephone number; (3) the objector’s personal signature;

(4) a statement providing the specific reasons for the objection, including a detailed

statement of the specific legal and factual basis for each and every objection and

whether the objection applies only to the objector, to a specific subset of the

Settlement Class, or to the entire Settlement Class; (5) documents sufficient to

prove membership in the Settlement Class, including documents showing the

number of shares of publicly-traded Equifax common stock that the objecting

Settlement Class Member (i) owned as of the opening of trading on February 25,

2016 and (ii) purchased/acquired and/or sold during the Class Period, as well as the

dates, number of shares, and prices of each such purchase/acquisition and sale

(documentation establishing membership in the Settlement Class must consist of

copies of brokerage confirmation slips or monthly brokerage account statements,

or an authorized statement from the objector’s broker containing the transactional


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and holding information found in a broker confirmation slip or account statement);

(6) a statement identifying by case name, case number, and court, all class action

settlements to which the objector has objected in the previous five (5) years; (7) a

statement as to whether the objector intends to appear at the Settlement Fairness

Hearing, either in person or through a lawyer, and four dates between twenty-one

(21) and seven (7) calendar days prior to the Settlement Fairness Hearing during

which the objector is available to be deposed by counsel for the Parties; and (8) if

the objector wants to appear and present evidence at the Settlement Fairness

Hearing, a detailed description of any and all evidence the objector may offer at the

hearing, including copies of any and all exhibits that the objector may introduce

into evidence at the hearing, and the identify of any witnesses that the objector may

call to testify at the hearing. If the objector is represented by a lawyer, the

objector’s written objection must also include: (9) the lawyer’s name, address, and

telephone number; and (10) statement indicating whether the lawyer will appear at

the Settlement Fairness Hearing to present the objection on the objector’s behalf.

Additionally, if the objector is represented by a lawyer, and the lawyer intends to

seek compensation for his or her services from anyone other than the objector, the

written objection letter must include: (11) the identity of all lawyers that represent

the objector, including any former or current lawyer who may be entitled to


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compensation for any reason related to the objection; (12) a statement identifying

all instances in which the lawyer or the lawyer’s law firm objected to a class action

settlement in the previous five (5) years, providing the case name, case number,

and court; (13) a statement identifying any and all agreements or contracts that

relate to the objection or the process of objecting—whether written or oral—

between the objector, the objector’s lawyer, and/or any other person or entity;

(14) a description of the lawyer’s legal background and prior experience in

connection with class action litigation; and (15) a statement regarding whether the

lawyer’s compensation will be calculated on the basis of a lodestar, contingency,

or other method; an estimate of the amount of fees to be sought; the factual and

legal justification for any fees to be sought; the number of hours already spent by

the lawyer and an estimate of the hours to be spent in the future; and the lawyer’s

hourly rate.

      20.      Any Settlement Class Member who wishes to be heard orally at the

Settlement Fairness Hearing in opposition to the approval of the Settlement, the

Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and

Litigation Expenses must also file a notice of appearance with the Court and serve

it on Lead Counsel and on Equifax’s Counsel at the addresses set forth in




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paragraph 18 above so that it is received no later than twenty-one (21) calendar

days prior to the Settlement Fairness Hearing.

      21.   Any Settlement Class Member who or which does not make his, her,

or its objection in the manner provided herein shall be deemed to have waived his,

her, or its right to object to any aspect of the proposed Settlement, the proposed

Plan of Allocation, and Lead Counsel’s motion for an award of attorneys’ fees and

Litigation Expenses and shall be forever barred and foreclosed from objecting to

the fairness, reasonableness, or adequacy of the Settlement, the Plan of Allocation,

or the requested attorneys’ fees and Litigation Expenses, or from otherwise being

heard concerning the Settlement, the Plan of Allocation, or the requested attorneys’

fees and Litigation Expenses in this or any other proceeding.

      22.   Stay and Temporary Injunction – Until otherwise ordered by the

Court, the Court stays all proceedings in the Action other than proceedings

necessary to carry out or enforce the terms and conditions of the Stipulation.

Pending final determination of whether the Settlement should be approved, the

Court bars and enjoins Lead Plaintiff, and all other members of the Settlement

Class, from commencing or prosecuting any and all of the Released Plaintiff’s

Claims against each and all of the Defendants’ Releasees.




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      23.    Settlement Administration Fees and Expenses – All reasonable

costs incurred in identifying Settlement Class Members and notifying them of the

Settlement as well as in administering the Settlement shall be paid as set forth in

the Stipulation without further order of the Court.

      24.    Settlement Fund – The contents of the Settlement Fund held by

Citibank, N.A. (which the Court approves as the Escrow Agent) shall be deemed

and considered to be in custodia legis of the Court, and shall remain subject to the

jurisdiction of the Court, until such time as they shall be distributed pursuant to the

Stipulation and/or further order(s) of the Court.

      25.    Taxes – Lead Counsel is authorized and directed to prepare any tax

returns and any other tax reporting form for or in respect to the Settlement Fund, to

pay from the Settlement Fund any Taxes owed with respect to the Settlement Fund,

and to otherwise perform all obligations with respect to Taxes and any reporting or

filings in respect thereof without further order of the Court in a manner consistent

with the provisions of the Stipulation.

      26.    Termination of Settlement – If the Settlement is terminated as

provided in the Stipulation, the Settlement is not approved, or the Effective Date of

the Settlement otherwise fails to occur, this Order shall be vacated and rendered

null and void, and shall be of no further force and effect, except as otherwise


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provided by the Stipulation, and this Order shall be without prejudice to the rights

of Lead Plaintiff, the other Settlement Class Members, and Defendants, and Lead

Plaintiff and Defendants shall revert to their respective positions in the Action as of

immediately prior to the execution of the Term Sheet on November 16, 2019, as

provided in the Stipulation.

      27.    Use of this Order – Neither this Order, the Term Sheet, the

Stipulation (whether or not consummated), including the exhibits thereto and the

Plan of Allocation contained therein (or any other plan of allocation that may be

approved by the Court), the negotiations leading to the execution of the Term

Sheet and the Stipulation, nor any proceedings taken pursuant to or in connection

with the Term Sheet, the Stipulation, and/or approval of the Settlement (including

any arguments proffered in connection therewith): (a) shall be offered against any

of the Defendants’ Releasees as evidence of, or construed as, or deemed to be

evidence of any presumption, concession, or admission by any of the Defendants’

Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the

validity of any claim that was or could have been asserted or the deficiency of any

defense that has been or could have been asserted in this Action or in any other

litigation, or with respect to the requirements of Federal Rule of Civil Procedure 23

and whether those requirements are satisfied in this case, or of any liability,


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negligence, fault, or other wrongdoing of any kind of any of the Defendants’

Releasees, or in any way referred to for any other reason as against any of the

Defendants’ Releasees, in any arbitration proceeding or other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of the Stipulation; (b) shall be offered

against any of the Plaintiff’s Releasees as evidence of, or construed as, or deemed

to be evidence of any presumption, concession, or admission by any of the

Plaintiff’s Releasees that any of their claims are without merit, that any of the

Defendants’ Releasees had meritorious defenses, or that damages recoverable

under the Complaint would not have exceeded the Settlement Amount, or with

respect to any liability, negligence, fault, or wrongdoing of any kind, or in any way

referred to for any other reason as against any of the Plaintiff’s Releasees, in any

arbitration proceeding or other civil, criminal, or administrative action or

proceeding, other than such proceedings as may be necessary to effectuate the

provisions of the Stipulation; or (c) shall be construed against any of the Releasees

as an admission, concession, or presumption that the consideration to be given

under the Settlement represents the amount which could be or would have been

recovered after trial; provided, however, that if the Stipulation is approved by the

Court, the Parties and the Releasees and their respective counsel may refer to it to


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effectuate the protections from liability granted thereunder or otherwise to enforce

the terms of the Settlement.

       28.   Supporting Papers – Lead Counsel shall file and serve the opening

papers in support of the proposed Settlement, the proposed Plan of Allocation, and

Lead Counsel’s motion for an award of attorneys’ fees and payment of Litigation

Expenses no later than thirty-five (35) calendar days prior to the Settlement

Fairness Hearing; and reply papers, if any, shall be filed and served no later than

seven (7) calendar days prior to the Settlement Fairness Hearing.

       29.   Jurisdiction – The Court retains jurisdiction to consider all further

applications arising out of or connected with the proposed Settlement.

       SO ORDERED this _______ day of ______________, 2020.



                                 ________________________________________
                                      The Honorable Thomas W. Thrash, Jr.
                                          United States District Judge


#1342087




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               EXHIBIT A-1
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                                                                                 Exhibit A-1
                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



IN RE EQUIFAX INC. SECURITIES                        Consolidated Case No.
LITIGATION                                           1:17-cv-03463-TWT



           NOTICE OF (I) PENDENCY OF CLASS ACTION AND
    PROPOSED SETTLEMENT; (II) SETTLEMENT FAIRNESS HEARING;
     AND (III) MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
                       LITIGATION EXPENSES

A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may
be affected by the above-captioned securities class action (the “Action”) pending in
the United States District Court for the Northern District of Georgia, Atlanta
Division (the “Court”), if, during the period from February 25, 2016 through
September 15, 2017, inclusive (the “Class Period”), you purchased or otherwise
acquired publicly-traded Equifax Inc. (“Equifax” or the “Company”) common
stock and were damaged thereby.1
NOTICE OF SETTLEMENT: Please also be advised that the Court-appointed Lead
Plaintiff Union Asset Management Holding AG (“Lead Plaintiff”), on behalf of
itself and the Settlement Class (as defined in ¶ 27 below), has reached a proposed
settlement of the Action for $149,000,000 in cash.
PLEASE READ THIS NOTICE CAREFULLY. This Notice explains
important rights you may have, including the possible receipt of a payment
1
  All capitalized terms used in this Notice that are not otherwise defined herein shall have the
meanings ascribed to them in the Stipulation and Agreement of Settlement dated February 12,
2020 (the “Stipulation”), which is available at www.EquifaxSecuritiesLitigation.com.
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from the Settlement. If you are a member of the Settlement Class, your legal
rights will be affected whether or not you act.
If you have any questions about this Notice, the proposed Settlement, or your
eligibility to participate in the Settlement, please DO NOT contact the Court,
the Office of the Clerk of the Court, Defendants, or their counsel. All
questions should be directed to Lead Counsel or the Claims Administrator
(see ¶ 93 below).
  1. Description of the Action and the Settlement Class: This Notice relates
to a proposed Settlement of claims in a pending securities class action brought by
investors alleging, among other things, that Defendants Equifax and Robert F.
Smith (“Smith”) violated the federal securities laws by making false and
misleading statements regarding Equifax’s business. A more detailed description
of the Action is set forth in ¶¶ 11-26 below. As noted below, Defendants have
denied and continue to deny all claims and allegations of wrongdoing asserted
against them in the Action. The proposed Settlement, if approved by the Court,
will settle claims of the Settlement Class, as defined in ¶ 27 below.
  2. Statement of the Settlement Class’s Recovery: Subject to Court approval,
Lead Plaintiff, on behalf of itself and the Settlement Class, has agreed to settle the
Action in exchange for $149,000,000 in cash (the “Settlement Amount”) to be
deposited into an escrow account. The Net Settlement Fund (i.e., the Settlement
Amount plus any and all interest earned thereon (the “Settlement Fund”) less
(i) any Taxes; (ii) any Notice and Administration Costs; (iii) any Litigation
Expenses awarded by the Court; (iv) any attorneys’ fees awarded by the Court; and
(v) any other costs or fees approved by the Court) will be distributed in accordance
with a plan of allocation that is approved by the Court. The proposed plan of
allocation (the “Plan of Allocation”) is set forth in ¶¶ 55-76 below. The Plan of
Allocation will determine how the Net Settlement Fund shall be allocated among
members of the Settlement Class.
  3. Estimate of Average Amount of Recovery Per Share: Based on Lead
Plaintiff’s damages expert’s estimate of the number of shares of publicly-traded
Equifax common stock purchased during the Class Period that may have been
affected by the conduct at issue in the Action, and assuming that all Settlement
Class Members elect to participate in the Settlement, the estimated average
recovery (before the deduction of any Court-approved fees, expenses, and costs as
described herein) is $2.08 per affected share of Equifax common stock. Settlement
Class Members should note, however, that the foregoing average recovery per


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share is only an estimate. Some Settlement Class Members may recover more or
less than this estimated amount depending on, among other factors, when and at
what prices they purchased/acquired or sold their Equifax common stock, and the
total number and value of valid Claim Forms submitted. Distributions to
Settlement Class Members will be made based on the Plan of Allocation set forth
herein (see ¶¶ 55-76 below) or such other plan of allocation as may be ordered by
the Court.
  4. Average Amount of Damages Per Share: The Parties do not agree on the
average amount of damages per share that would be recoverable if Lead Plaintiff
was to prevail in the Action. Among other things, Defendants do not agree with
the assertion that they violated the federal securities laws or that any damages were
suffered by any members of the Settlement Class as a result of their conduct.
  5. Attorneys’ Fees and Expenses Sought: Plaintiff’s Counsel have been
prosecuting the Action on a wholly contingent basis since its inception in 2017,
have not received any payment of attorneys’ fees for their representation of the
Settlement Class, and have advanced the funds to pay expenses necessarily
incurred to prosecute this Action. Court-appointed Lead Counsel, Bernstein
Litowitz Berger & Grossmann LLP, will apply to the Court for an award of
attorneys’ fees for Plaintiff’s Counsel in an amount not to exceed 20% of the
Settlement Fund. In addition, Lead Counsel will apply for payment of Litigation
Expenses incurred in connection with the institution, prosecution, and resolution of
the Action in an amount not to exceed $1,000,000, which may include an
application for reimbursement of the reasonable costs and expenses incurred by
Lead Plaintiff directly related to its representation of the Settlement Class, pursuant
to the Private Securities Litigation Reform Act of 1995 (“PSLRA”). Any fees and
expenses awarded by the Court will be paid from the Settlement Fund. Settlement
Class Members are not personally liable for any such fees or expenses. The
estimated average cost for such fees and expense, if the Court approves Lead
Counsel’s fee and expense application, is $0.43 per affected share of Equifax
common stock.
 6. Identification of Attorneys’ Representative: Lead Plaintiff and the
Settlement Class are represented by James A. Harrod, Esq. of Bernstein Litowitz
Berger & Grossmann LLP, 1251 Avenue of the Americas, 44th Floor, New York,
NY 10020, 1-800-380-8496, settlements@blbglaw.com.
  7. Reasons for the Settlement: Lead Plaintiff’s principal reason for entering
into the Settlement is the substantial and certain recovery for the Settlement Class


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without the risk or the delays inherent in further litigation. Moreover, the
substantial recovery provided under the Settlement must be considered against the
significant risk that a smaller recovery—or indeed no recovery at all—might be
achieved after contested motions, a trial of the Action, and the likely appeals that
would follow a trial. This process could be expected to last several years.
Defendants, who deny that they have committed any act or omission giving rise to
liability under the federal securities laws, are entering into the Settlement solely to
eliminate the uncertainty, burden, and expense of further protracted litigation.
     YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
SUBMIT A CLAIM                 This is the only way to be eligible to receive a
FORM POSTMARKED                payment from the Settlement Fund. If you are a
NO LATER THAN                  Settlement Class Member and you remain in the
_____________, 2020.           Settlement Class, you will be bound by the
                               Settlement as approved by the Court and you will
                               give up any Released Plaintiff’s Claims (defined in
                               ¶ 37 below) that you have against Defendants and
                               the other Defendants’ Releasees (defined in ¶ 38
                               below), so it is in your interest to submit a Claim
                               Form.
EXCLUDE YOURSELF               If you exclude yourself from the Settlement Class,
FROM THE                       you will not be eligible to receive any payment from
SETTLEMENT CLASS               the Settlement Fund. This is the only option that
BY SUBMITTING A                allows you ever to be part of any other lawsuit
WRITTEN REQUEST                against any of the Defendants or the other
FOR EXCLUSION SO               Defendants’ Releasees concerning the Released
THAT IT IS RECEIVED            Plaintiff’s Claims.
NO LATER THAN
_____________, 2020.




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OBJECT TO THE               If you do not like the proposed Settlement, the
SETTLEMENT BY               proposed Plan of Allocation, or the request for an
SUBMITTING A                award of attorneys’ fees and Litigation Expenses,
WRITTEN OBJECTION           you may write to the Court and explain why you do
SO THAT IT IS               not like them. You cannot object to the Settlement,
RECEIVED NO LATER           the Plan of Allocation, or the fee and expense
THAN _____________,         request unless you are a Settlement Class Member
2020.                       and do not exclude yourself from the Settlement
                            Class.
GO TO A HEARING ON          Filing a written objection and notice of intention to
_____________, 2020 AT      appear by _____________, 2020 allows you to
__:__ __.M., AND FILE       speak in Court, at the discretion of the Court, about
A NOTICE OF                 the fairness of the proposed Settlement, the Plan of
INTENTION TO                Allocation, and/or the request for attorneys’ fees and
APPEAR SO THAT IT           Litigation Expenses. If you submit a written
IS RECEIVED NO              objection, you may (but you do not have to) attend
LATER THAN                  the hearing and, at the discretion of the Court, speak
_____________, 2020.        to the Court about your objection.
DO NOTHING.                 If you are a member of the Settlement Class and you
                            do not submit a valid Claim Form, you will not be
                            eligible to receive any payment from the Settlement
                            Fund. You will, however, remain a member of the
                            Settlement Class, which means that you give up your
                            right to sue about the claims that are resolved by the
                            Settlement and you will be bound by any judgments
                            or orders entered by the Court in the Action.


                     WHAT THIS NOTICE CONTAINS


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What Is This Case About?                                               Page [__]
How Do I Know If I Am Affected By The Settlement?
  Who Is Included In The Settlement Class?                             Page [__]
What Are Lead Plaintiff’s Reasons For The Settlement?                  Page [__]
What Might Happen If There Were No Settlement?                         Page [__]

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How Are Settlement Class Members Affected By The Action
  And The Settlement?                                                     Page [__]
How Do I Participate In The Settlement? What Do I Need To Do?             Page [__]
How Much Will My Payment Be?                                              Page [__]
What Payment Are The Attorneys For The Settlement Class Seeking?
  How Will The Lawyers Be Paid?                                           Page [__]
What If I Do Not Want To Be A Member Of The Settlement Class?
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When And Where Will The Court Decide Whether To Approve The
  Settlement? Do I Have To Come To The Hearing? May I Speak At
  The Hearing If I Don’t Like The Settlement?                             Page [__]
What If I Bought Shares On Someone Else’s Behalf?                         Page [__]
Can I See The Court File? Whom Should I Contact If I Have
  Questions?                                                              Page [__]

                       WHY DID I GET THIS NOTICE?

  8. The Court directed that this Notice be mailed to you because you or
someone in your family or an investment account for which you serve as a
custodian may have purchased or otherwise acquired publicly-traded Equifax
common stock during the Class Period. The Court has directed us to send you this
Notice because, as a potential Settlement Class Member, you have a right to know
about your options before the Court rules on the proposed Settlement.
Additionally, you have the right to understand how this class action lawsuit may
generally affect your legal rights. If the Court approves the Settlement and the
Plan of Allocation (or some other plan of allocation), the Claims Administrator
selected by Lead Plaintiff and approved by the Court will make payments pursuant
to the Settlement after any objections and appeals are resolved.
  9. The purpose of this Notice is to inform you of the existence of this case, that
it is a class action, how you might be affected, and how to exclude yourself from
the Settlement Class if you wish to do so. It is also being sent to inform you of the
terms of the proposed Settlement and of a hearing to be held by the Court to
consider the fairness, reasonableness, and adequacy of the Settlement, the proposed
Plan of Allocation, and the motion by Lead Counsel for an award of attorneys’ fees
and payment of Litigation Expenses (the “Settlement Fairness Hearing”). See
¶¶ 82-83 below for details about the Settlement Fairness Hearing, including the
date and location of the hearing.


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 10. The issuance of this Notice is not an expression of any opinion by the Court
concerning the merits of any claim in the Action, and the Court still has to decide
whether to approve the Settlement. If the Court approves the Settlement and a plan
of allocation, then payments to Authorized Claimants will be made after any
appeals are resolved and after the completion of all claims processing. Please be
patient, as this process can take some time to complete.

                        WHAT IS THIS CASE ABOUT?

  11. In this Action, Lead Plaintiff alleges that Defendants made a series of
misleading statements during the Class Period (from February 25, 2016 through
September 15, 2017, inclusive) regarding Equifax’s cybersecurity efforts and
compliance with applicable cybersecurity standards. Lead Plaintiff further alleges
that Equifax’s September 7, 2017 announcement of a cyberattack involving
personally identifiable information of approximately 143 million U.S. consumers
(the “Data Breach”) and subsequent disclosures revealed to investors that the
Company’s cybersecurity protections were inadequate.
  12. Beginning in September 2017, certain related class actions (Kuhns v.
Equifax Inc., et al., Case No. 1:17-cv-03463-WSD; Brock v. Equifax Inc., et al.,
Case No. 1:17-cv-04510-WSD; and Groover v. Equifax Inc., et al., Case No. 1:17-
cv-04511-WSD) were filed in or transferred to the United States District Court for
the Northern District of Georgia, Atlanta Division (the “Court”) alleging violations
of the federal securities laws. The actions were initially assigned to the Honorable
William S. Duffey, Jr. The Kuhns and Groover actions were subsequently
reassigned to the Honorable Thomas W. Thrash, Jr., and the Brock action was
voluntarily dismissed.
 13. By Order dated January 10, 2018, the Court consolidated the Kuhns and
Groover actions and ordered that all future filings in the consolidated action be
made in Case No. 1:17-cv-03463-TWT, under the caption “In re Equifax Inc.
Securities Litigation.”
 14. By Order dated February 21, 2018, the Court appointed Union Asset
Management Holding AG as Lead Plaintiff and approved Bernstein Litowitz
Berger & Grossmann LLP as Lead Counsel.
  15. On April 23, 2018, Lead Plaintiff filed its Consolidated Class Action
Complaint for Violations of the Federal Securities Laws (the “Complaint”)
asserting claims against defendants Equifax, Smith, John W. Gamble (“Gamble”),


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Rodolfo O. Ploder (“Ploder”), and Jeffrey L. Dodge (“Dodge”) under Section
10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-
5 promulgated thereunder, and against defendants Smith, Gamble, Ploder, and
Dodge under Section 20(a) of the Exchange Act. Among other things, the
Complaint alleged that defendants made materially false and misleading statements
about Equifax’s cybersecurity, including about Equifax’s efforts to safeguard
highly sensitive personal information that is at the core of its business and
Equifax’s compliance with applicable data protection laws and cybersecurity best
practices. The Complaint further alleged that the price of Equifax common stock
was artificially inflated as a result of defendants’ allegedly false and misleading
statements and declined when the truth was revealed.
 16. On June 7, 2018, defendants filed a joint motion to dismiss the Complaint.
On July 23, 2018, Lead Plaintiff filed its memorandum of law in opposition to the
motion to dismiss, and, on August 23, 2018, defendants filed their reply papers.
 17. On December 11, 2018, the Court heard oral argument on defendants’
motions to dismiss the Complaint.
 18. On January 28, 2019, the Court entered its Opinion and Order denying in
part and granting in part defendants’ motion to dismiss the Complaint.
Specifically, the Court denied the motion with respect to defendants Equifax and
Smith (collectively, “Defendants”) and granted the motion with respect to
defendants Gamble, Ploder, and Dodge (collectively, “Former Defendants”). The
Court also held that the Complaint failed to state a claim for relief with respect to
certain statements challenged in the Complaint.
  19. On March 28, 2019, Defendants Equifax and Smith each filed their Answer
and Defenses to the Complaint. Among other things, Defendants’ Answers denied
Lead Plaintiff’s allegations of wrongdoing and asserted various defenses to the
claims pled against them.
  20. On March 29, 2019, Lead Plaintiff filed its motion for class certification and
appointment of class representative and class counsel, which was accompanied by
a report from Lead Plaintiff’s expert on market efficiency and common damages
methodologies. On August 12, 2019, Defendants filed their opposition to Lead
Plaintiff’s class certification motion, which was accompanied by a report from
Defendants’ expert in response to Lead Plaintiff’s expert report. On October 11,
2019, Lead Plaintiff filed its reply papers.




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  21. In connection with Lead Plaintiff’s March 29, 2019 class certification
motion, Lead Plaintiff produced over 2,500 documents, totaling more than 28,000
pages, to Defendants. Defendants’ Counsel deposed, and Lead Counsel defended,
the deposition of two representatives from Lead Plaintiff, as well as Lead
Plaintiff’s expert. Lead Counsel deposed Defendants’ expert.
  22. Discovery in the Action commenced in April 2019. Defendants and third
parties produced more than 171,000 documents, totaling more than 1 million
pages, to Lead Plaintiff. In addition, the Parties met and conferred and exchanged
numerous letters concerning disputed discovery issues over several months. Lead
Plaintiff made a number of applications to the Court regarding disputed discovery
issues, some of which remained pending at the time of the Settlement.
  23. The Parties began exploring the possibility of a settlement in the spring of
2019. The Parties agreed to engage in private mediation and retained retired
United States District Court Judge Layn R. Phillips to act as mediator in the Action
(the “Mediator”). On May 29, 2019, counsel for the Parties participated in a full-
day mediation session before the Mediator. In advance of that session, the Parties
exchanged and submitted detailed opening and reply mediation statements to the
Mediator, together with numerous supporting exhibits, which addressed both
liability and damages issues. The session ended without any agreement being
reached.
  24. Following the May 29, 2019 mediation, the Parties engaged in additional
settlement negotiations under the supervision and guidance of the Mediator. After
several months of such negotiations, the Parties then reached an agreement in
principle to settle the Action pursuant to a Mediator’s recommendation that was
memorialized in a term sheet executed on November 16, 2019 (the “Term Sheet”).
The Term Sheet set forth, among other things, the Parties’ agreement to settle and
release all claims against Defendants in the Action in return for a cash payment of
$149,000,000 for the benefit of the Settlement Class, subject to certain terms and
conditions and the execution of a customary “long form” stipulation and agreement
of settlement and related papers.
 25. On February 12, 2020, the Parties entered into the Stipulation and
Agreement of Settlement, which sets forth the terms and conditions of the
Settlement. The Stipulation is available at www.EquifaxSecuritiesLitigation.com.
 26. On _____________, 2020, the Court preliminarily approved the Settlement,
authorized this Notice to be disseminated to potential Settlement Class Members,


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and scheduled the Settlement Fairness Hearing to consider whether to grant final
approval to the Settlement.

    HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
       WHO IS INCLUDED IN THE SETTLEMENT CLASS?

 27. If you are a member of the Settlement Class, you are subject to the
Settlement, unless you timely request to be excluded. The Settlement Class
consists of:
      all persons and entities who purchased or otherwise acquired publicly-
      traded Equifax common stock during the period from February 25,
      2016 through September 15, 2017, inclusive (the “Class Period”), and
      who were damaged thereby (the “Settlement Class”).
Excluded from the Settlement Class are: (i) the Defendants and Former
Defendants; (ii) any current or former Officers or directors of Equifax who served
in such capacities during the Class Period; (iii) the Immediate Family Members of
Defendant Smith, the Former Defendants, or any current or former Officer or
director of Equifax who served in such capacities during the Class Period; (iv) any
entity that any Defendant or Former Defendant owns or controls, or owned or
controlled during the Class Period; (v) any affiliates, parents, or subsidiaries of
Equifax; and (vi) the legal representatives, heirs, successors, and assigns of any
such excluded persons and entities. Also excluded from the Settlement Class are
any persons or entities who or which exclude themselves by submitting a request
for exclusion in accordance with the requirements set forth in this Notice. See
“What If I Do Not Want To Be A Member Of The Settlement Class? How Do I
Exclude Myself,” on page [__] below.
PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT
YOU ARE A SETTLEMENT CLASS MEMBER OR THAT YOU WILL BE
ENTITLED TO A PAYMENT FROM THE SETTLEMENT. IF YOU ARE
A SETTLEMENT CLASS MEMBER AND YOU WISH TO BE ELIGIBLE
TO RECEIVE A PAYMENT FROM THE SETTLEMENT, YOU ARE
REQUIRED TO SUBMIT THE CLAIM FORM THAT IS BEING
DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED
SUPPORTING DOCUMENTATION AS SET FORTH THEREIN
POSTMARKED NO LATER THAN _____________, 2020.




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 WHAT ARE LEAD PLAINTIFF’S REASONS FOR THE SETTLEMENT?

  28. Lead Plaintiff and Lead Counsel believe that the claims asserted against
Defendants have merit. They recognize, however, the expense and length of
continued proceedings necessary to pursue their claims against Defendants through
class certification, summary judgment, trial, and appeals, as well as the very
substantial risks they would face in establishing liability and damages. For
example, Lead Plaintiff would have faced substantial challenges in proving that
Equifax’s statements about its cybersecurity efforts were false. Among other
defenses, Defendants would have made credible arguments that the Company was
expending significant effort and money on cyber-defenses, which made their
statements regarding cybersecurity true. In addition, Defendants would have
argued that Lead Plaintiff would be unable to show that the alleged misstatements
were made “in connection with” the purchase or sale of Equifax securities, as
required to support a claim under Section 10(b) of the Exchange Act. Moreover,
Lead Plaintiff would have faced challenges in proving that Defendants made the
alleged false statements with the intent to mislead investors or were severely
reckless in making the statements. For example, Defendants would contend that
the absence of proof of Defendants’ knowledge that their public statements were
misleading, when combined with Defendants’ argument that the Company would
be able to show that it prioritized and invested significantly in cybersecurity and
had in place a reasonable overall cybersecurity program, do not establish the
requisite scienter to support a securities fraud claim.
  29. Lead Plaintiff would have also faced significant hurdles in proving “loss
causation”—that the alleged misstatements were the cause of investors’ losses—
and in proving damages with respect to at least some of the alleged corrective
disclosures. For example, Defendants have argued that all or at least a significant
portion of the declines in Equifax’s stock on each of the alleged corrective
disclosure dates reflect investors’ reaction to the expected cost and impact of the
Data Breach itself, rather than the revelation of alleged undisclosed cybersecurity
deficiencies. Defendants also would have argued that any Class Period certified by
the Court should begin no earlier than March 2017—more than one year after the
start of the alleged Class Period—when Defendants received a report from an
outside consulting firm making certain observations regarding aspects of Equifax’s
cybersecurity program. Defendants would have further argued any Class Period
certified by the Court should end no later than September 7, 2017—the date of
Equifax’s public announcement of the Data Breach—on the grounds that by that


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date, all information relevant to the Data Breach had been fully disclosed to the
market. If Defendants’ arguments for shortening the Class Period were successful,
the result may have been to substantially reduce both the potential aggregate
recovery and the number of investors eligible to share in any recovery. Defendants
also advanced credible arguments that the Action should not be certified as a class
action. Thus, there were significant risks attendant to the continued prosecution of
the Action.
  30. In light of these risks, the amount of the Settlement, and the immediacy of
recovery to the Settlement Class, Lead Plaintiff and Lead Counsel believe that the
proposed Settlement is fair, reasonable, and adequate, and in the best interests of
the Settlement Class. Lead Plaintiff and Lead Counsel believe that the Settlement
provides a substantial benefit to the Settlement Class, namely $149,000,000 in cash
(less the various deductions described in this Notice), as compared to the risk that
the claims in the Action would produce a smaller recovery, or no recovery, after
summary judgment, trial, and appeals, possibly years in the future.
  31. Defendants have denied the claims asserted against them in the Action and
deny that the Settlement Class was harmed or suffered any damages as a result of
the conduct alleged in the Action. Defendants have agreed to the Settlement solely
to eliminate the burden and expense of continued litigation. Accordingly, the
Settlement may not be construed as an admission of any wrongdoing by
Defendants.

     WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

  32. If there were no Settlement and Lead Plaintiff failed to establish any
essential legal or factual element of its claims against Defendants, neither Lead
Plaintiff nor the other members of the Settlement Class would recover anything
from Defendants. Also, if Defendants were successful in defeating class
certification, narrowing the Class Period, or proving any of their defenses, either at
summary judgment, at trial, or on appeal, the Settlement Class could recover
substantially less than the amount provided in the Settlement, or nothing at all.

        HOW ARE SETTLEMENT CLASS MEMBERS AFFECTED
            BY THE ACTION AND THE SETTLEMENT?

  33. As a Settlement Class Member, you are represented by Lead Plaintiff and
Lead Counsel, unless you enter an appearance through counsel of your own choice
at your own expense. You are not required to retain your own counsel, but if you

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choose to do so, such counsel must file a notice of appearance on your behalf and
must serve copies of his or her appearance on the attorneys listed in the section
entitled, “When And Where Will The Court Decide Whether To Approve The
Settlement?,” below.
  34. If you are a Settlement Class Member and do not wish to remain a
Settlement Class Member, you may exclude yourself from the Settlement Class by
following the instructions in the section entitled, “What If I Do Not Want To Be A
Member Of The Settlement Class? How Do I Exclude Myself?,” below.
  35. If you are a Settlement Class Member and you wish to object to the
Settlement, the Plan of Allocation, or Lead Counsel’s application for attorneys’
fees and Litigation Expenses, and if you do not exclude yourself from the
Settlement Class, you may present your objections by following the instructions in
the section entitled, “When And Where Will The Court Decide Whether To
Approve The Settlement?,” below.
  36. If you are a Settlement Class Member and you do not exclude yourself from
the Settlement Class, you will be bound by any orders issued by the Court. If the
Settlement is approved, the Court will enter a judgment (the “Judgment”). The
Judgment will dismiss with prejudice the claims against Defendants and will
provide that, upon the Effective Date of the Settlement, Lead Plaintiff and each of
the other Settlement Class Members, on behalf of themselves, and their respective
heirs, executors, administrators, predecessors, successors, and assigns in their
capacities as such only, will have, fully, finally, and forever compromised, settled,
released, resolved, relinquished, waived, and discharged any or all of the Released
Plaintiff’s Claims (as defined in ¶ 37 below) against Defendants and the other
Defendants’ Releasees (as defined in ¶ 38 below), and will forever be barred and
enjoined from prosecuting any or all of the Released Plaintiff’s Claims against any
of the Defendants’ Releasees.
  37. “Released Plaintiff’s Claims” means all claims (including Unknown Claims,
as defined in ¶ 39 below), debts, disputes, demands, rights, actions or causes of
action, liabilities, damages, losses, obligations, sums of money due, judgments,
suits, amounts, matters, issues and charges of any kind whatsoever (including, but
not limited to, any claims for interest, attorneys’ fees, expert or consulting fees,
and any other costs, expenses, amounts, or liabilities whatsoever), whether fixed or
contingent, accrued or unaccrued, liquidated or unliquidated, at law or in equity,
matured or unmatured, foreseen or unforeseen, whether individual or class in
nature, whether arising under federal or state statutory or common law or any other


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law, rule, or regulation, whether foreign or domestic, that Lead Plaintiff or any
other member of the Settlement Class: (i) (A) asserted in any of the complaints
filed in the Action; or (B) could have asserted in the Action or in any other action
or in any other forum that arise out of, are based upon, are related to, or are in
consequence of any of the facts, allegations, transactions, matters, events,
disclosures, non-disclosures, occurrences, representations, statements, acts or
omissions, or failures to act that were involved, set forth, or referred to in any of
the complaints filed in the Action, or that otherwise would have been barred by res
judicata had the Action been fully litigated to a final judgment; and (ii) relate to the
purchase or sale of publicly-traded Equifax common stock during the Class Period.
Released Plaintiff’s Claims do not include, settle, or release (i) any claims relating
to the enforcement of the Settlement; (ii) any claims asserted on behalf of the
Company in any derivative action, including, without limitation, the claims
asserted in In re Equifax Inc. Derivative Litigation, Case No. 1:18-cv-00317-TWT
(N.D. Ga.), or any cases consolidated into that action; and (iii) any claims of any
person or entity who or which submits a request for exclusion that is accepted by
the Court.
  38. “Defendants’ Releasees” means Defendants, Former Defendants, and their
current and former parents, affiliates, subsidiaries, officers, directors, agents,
successors, predecessors, assigns, assignees, partnerships, partners, trustees, trusts,
employees, Immediate Family Members, insurers, reinsurers, and attorneys.
  39. “Unknown Claims” means any Released Plaintiff’s Claims which Lead
Plaintiff or any other Settlement Class Member does not know or suspect to exist
in his, her, or its favor at the time of the release of such claims, and any Released
Defendants’ Claims which any Defendant or Former Defendant does not know or
suspect to exist in his, her, or its favor at the time of the release of such claims,
which, if known by him, her, or it, might have affected his, her, or its decision(s)
with respect to this Settlement. With respect to any and all Released Claims, the
Parties stipulate and agree that, upon the Effective Date of the Settlement, Lead
Plaintiff and Defendants shall expressly waive, and each of the other Settlement
Class Members and each of the Former Defendants shall be deemed to have
waived, and by operation of the Judgment or the Alternate Judgment, if applicable,
shall have expressly waived, any and all provisions, rights, and benefits conferred
by any law of any state or territory of the United States, or principle of common
law or foreign law, which is similar, comparable, or equivalent to California Civil
Code §1542, which provides:



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      A general release does not extend to claims that the creditor or
      releasing party does not know or suspect to exist in his or her favor at
      the time of executing the release and that, if known by him or her,
      would have materially affected his or her settlement with the debtor or
      released party.
Lead Plaintiff and Defendants acknowledge, and each of the other Settlement Class
Members and each of the Former Defendants shall be deemed by operation of law
to have acknowledged, that the foregoing waiver was separately bargained for and
a key element of the Settlement.
  40. The Judgment will also provide that, upon the Effective Date of the
Settlement, Defendants and Former Defendants, on behalf of themselves, and their
respective heirs, executors, administrators, predecessors, successors, and assigns in
their capacities as such only, will have, fully, finally, and forever compromised,
settled, released, resolved, relinquished, waived, and discharged any or all of the
Released Defendants’ Claims (as defined in ¶ 41 below) against Lead Plaintiff and
the other Plaintiff’s Releasees (as defined in ¶ 42 below), and will forever be
barred and enjoined from prosecuting any or all of the Released Defendants’
Claims against any of the Plaintiff’s Releasees.
  41. “Released Defendants’ Claims” means all claims (including Unknown
Claims), debts, disputes, demands, rights, actions or causes of action, liabilities,
damages, losses, obligations, sums of money due, judgments, suits, amounts,
matters, issues and charges of any kind whatsoever (including, but not limited to,
any claims for interest, attorneys’ fees, expert or consulting fees, and any other
costs, expenses, amounts, or liabilities whatsoever), whether fixed or contingent,
accrued or unaccrued, liquidated or unliquidated, at law or in equity, matured or
unmatured, foreseen or unforeseen, whether arising under federal or state statutory
or common law or any other law, rule, or regulation, whether foreign or domestic,
that arise out of or relate in any way to the institution, prosecution, or settlement of
the claims asserted in the Action. Released Defendants’ Claims do not include,
settle, or release (i) any claims relating to the enforcement of the Settlement; and
(ii) any claims against any person or entity who or which submits a request for
exclusion that is accepted by the Court.
  42. “Plaintiff’s Releasees” means Lead Plaintiff, all other plaintiffs in the
Action, and all other Settlement Class Members, and their respective current and
former parents, affiliates, subsidiaries, officers, directors, agents, successors,



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predecessors, assigns, assignees, partnerships, partners, trustees, trusts, employees,
Immediate Family Members, insurers, reinsurers, and attorneys.

 HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED
                          TO DO?

  43. To be eligible for a payment from the Settlement, you must be a member of
the Settlement Class and you must timely complete and return the Claim Form
with adequate supporting documentation postmarked no later than __________,
2020. A Claim Form is included with this Notice, or you may obtain one from the
website maintained by the Claims Administrator for the Settlement,
www.EquifaxSecuritiesLitigation.com. You may also request that a Claim Form
be mailed to you by calling the Claims Administrator toll free at 1-844-975-1781
or by emailing the Claims Administrator at info@EquifaxSecuritiesLitigation.com.
Please retain all records of your ownership of and transactions in Equifax common
stock, as they will be needed to document your Claim. The Parties and Claims
Administrator do not have information about your transactions in Equifax common
stock.
 44. If you request exclusion from the Settlement Class or do not submit a timely
and valid Claim Form, you will not be eligible to share in the Net Settlement Fund.

                   HOW MUCH WILL MY PAYMENT BE?

 45. At this time, it is not possible to make any determination as to how much
any individual Settlement Class Member may receive from the Settlement.
  46. Pursuant to the Settlement, Defendants have agreed to pay or caused to be
paid a total of $149,000,000 in cash (the “Settlement Amount”). The Settlement
Amount will be deposited into an escrow account. The Settlement Amount plus
any interest earned thereon is referred to as the “Settlement Fund.” If the
Settlement is approved by the Court and the Effective Date occurs, the “Net
Settlement Fund” (that is, the Settlement Fund less (i) any Taxes; (ii) any Notice
and Administration Costs; (iii) any Litigation Expenses awarded by the Court;
(iv) any attorneys’ fees awarded by the Court; and (v) any other costs or fees
approved by the Court) will be distributed to Settlement Class Members who
submit valid Claim Forms, in accordance with the proposed Plan of Allocation or
such other plan of allocation as the Court may approve.




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  47. The Net Settlement Fund will not be distributed unless and until the Court
has approved the Settlement and a plan of allocation, and the time for any petition
for rehearing, appeal, or review, whether by certiorari or otherwise, has expired.
  48. Neither Defendants nor any other person or entity that paid any portion of
the Settlement Amount on their behalf are entitled to get back any portion of the
Settlement Fund once the Court’s order or judgment approving the Settlement
becomes Final.        Defendants shall not have any liability, obligation, or
responsibility for the administration of the Settlement, the disbursement of the Net
Settlement Fund, or the plan of allocation.
  49. Approval of the Settlement is independent from approval of a plan of
allocation. Any determination with respect to a plan of allocation will not affect
the Settlement, if approved.
  50. Unless the Court otherwise orders, any Settlement Class Member who or
which fails to submit a Claim Form postmarked on or before _____________,
2020 shall be fully and forever barred from receiving payments pursuant to the
Settlement but will in all other respects remain a member of the Settlement Class
and be subject to the provisions of the Stipulation, including the terms of any
Judgment entered and the releases given. This means that each Settlement Class
Member releases the Released Plaintiff’s Claims (as defined in ¶ 37 above) against
the Defendants’ Releasees (as defined in ¶ 38 above) and will be barred and
enjoined from prosecuting any of the Released Plaintiff’s Claims against any of the
Defendants’ Releasees whether or not such Settlement Class Member submits a
Claim Form.
  51. Participants in, and beneficiaries of, an Equifax employee benefit plan
covered by ERISA (“ERISA Plan”) should NOT include any information relating
to their transactions in Equifax common stock held through the ERISA Plan in any
Claim Form that they submit in this Action. They should include ONLY those
shares that they purchased or acquired outside of the ERISA Plan. Claims based
on any ERISA Plan’s purchases or acquisitions of Equifax common stock during
the Class Period may be made by the plan’s trustees.
 52. The Court has reserved jurisdiction to allow, disallow, or adjust on equitable
grounds the Claim of any Settlement Class Member.
 53. Each Claimant shall be deemed to have submitted to the jurisdiction of the
Court with respect to his, her, or its Claim Form.



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  54. Only Settlement Class Members, i.e., persons and entities who purchased or
otherwise acquired publicly-traded Equifax common stock during the Class Period
and were damaged as a result of such purchases or acquisitions, will be eligible to
share in the distribution of the Net Settlement Fund. Persons and entities that are
excluded from the Settlement Class by definition or that exclude themselves from
the Settlement Class pursuant to request will not be eligible for a payment and
should not submit Claim Forms. The only security that is included in the
Settlement is publicly-traded Equifax common stock.
                      PROPOSED PLAN OF ALLOCATION
  55. The objective of the Plan of Allocation is to equitably distribute the Net
Settlement Fund to those Settlement Class Members who had economic losses as a
result of the alleged violations of the federal securities laws. The calculations
made pursuant to the Plan of Allocation are not intended to be estimates of, nor
indicative of, the amounts that Settlement Class Members might have been able to
recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
intended to be estimates of the amounts that will be paid to Authorized Claimants
pursuant to the Settlement. The computations under the Plan of Allocation are
only a method to weigh the claims of Claimants against one another for the
purposes of making pro rata allocations of the Net Settlement Fund.
 56. In developing the Plan of Allocation, Lead Plaintiff’s damages expert
calculated the estimated amounts of artificial inflation in the per share closing price
of publicly-traded Equifax common stock which allegedly was proximately caused
by Defendants’ alleged materially false and misleading statements and omissions.
  57. In calculating the estimated artificial inflation allegedly caused by
Defendants’ alleged misrepresentations and omissions, Lead Plaintiff’s damages
expert considered price changes in publicly-traded Equifax common stock in
reaction to certain public announcements allegedly revealing the truth concerning
Defendants’ alleged misrepresentations and omissions. These inflation amounts
were adjusted for price changes that were attributable to market or industry forces,
other negative information unrelated to Lead Plaintiff’s allegations, and to account
for the strength of the claims, including potential difficulties in proving loss
causation. The estimated artificial inflation in publicly-traded Equifax common
stock is stated in Table A attached to the end of this Notice.
 58. In order to have recoverable damages, the disclosure of the allegedly
misrepresented information must be the cause of the decline in the price of Equifax
common stock. In this case, Lead Plaintiff alleges that Defendants made false

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statements and omitted material facts during the Class Period (i.e., from February
25, 2016 through September 15, 2017, inclusive), which had the effect of
artificially inflating the price of publicly-traded Equifax common stock. Lead
Plaintiff further alleges that corrective information was released to the market
during the Class Period which partially removed the artificial inflation from the
price of publicly-traded Equifax common stock on: September 8, 2017, September
11, 2017, September 13, 2017, September 14, 2017, and September 15, 2017.2
  59. Recognized Loss Amounts are based primarily on the difference in the
amount of alleged artificial inflation in the price of publicly-traded Equifax
common stock at the time of purchase or acquisition and at the time of sale or the
difference between the actual purchase price and sale price. Accordingly, in order
to have a Recognized Loss Amount under the Plan of Allocation, a Settlement
Class Member who or which purchased or otherwise acquired publicly-traded
Equifax common stock prior to the first corrective disclosure, which occurred after
the close of the financial markets on September 7, 2017, must have held his, her, or
its shares of Equifax common stock through at least September 8, 2017. A
Settlement Class Member who or which purchased or otherwise acquired publicly-
traded Equifax common stock from February 25, 2016 through September 15,
2017, must have held those shares through at least one of the later dates where new
corrective information was released to the market and partially removed the
artificial inflation from the price of Equifax common stock.
            CALCULATION OF RECOGNIZED LOSS AMOUNTS
  60. Based on the formula stated below, a “Recognized Loss Amount” will be
calculated for each purchase or acquisition of publicly-traded Equifax common
stock during the Class Period that is listed on the Claim Form and for which
adequate documentation is provided. If a Recognized Loss Amount calculates to a
negative number or zero under the formula below, that number will be zero.

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  For purposes of this Plan of Allocation, the Claims Administrator will assume that any shares
purchased/acquired or sold on September 15, 2017 at any price less than $92.21 per share
occurred after the allegedly corrective information was absorbed by the market, and that any
shares purchased/acquired or sold on September 15, 2017 at any price equal to or greater than
$92.21 per share occurred before the allegedly corrective information was absorbed by the
market. If a Claimant provides documentation with the time stamp for the trade, any trade made
prior to 12:20 PM Eastern time will be considered as having occurred before the information was
disclosed to the market, and any trade at or after 12:20 PM Eastern time will be considered to
have occurred after the information was disclosed to the market.



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  61. For each share of publicly-traded Equifax common stock purchased or
otherwise acquired during the period from February 25, 2016 through the close of
trading on September 15, 2017, and:
       (i)     Sold before September 8, 2017, the Recognized Loss Amount will be
               $0.00.
       (ii)    Sold from September 8, 2017 through and including September 15,
               2017 (prior to 12:20 PM Eastern time), the Recognized Loss Amount
               will be the lesser of: (i) the amount of artificial inflation per share on
               the date of purchase/acquisition as stated in Table A minus the
               amount of artificial inflation per share on the date of sale as stated in
               Table A; or (ii) the purchase/acquisition price minus the sale price.
       (iii)   Sold from September 15, 2017 (at or after 12:20 PM Eastern time)
               through the close of trading on December 13, 2017, the Recognized
               Loss Amount will be the least of: (i) the amount of artificial inflation
               per share on the date of purchase/acquisition as stated in Table A;
               (ii) the purchase/acquisition price minus the average closing price
               between September 15, 2017 and the date of sale as stated in Table B
               attached at the end of this Notice; or (iii) the purchase/acquisition
               price minus the sale price.
       (iv)    Held as of the close of trading on December 13, 2017, the Recognized
               Loss Amount will be the lesser of: (i) the amount of artificial inflation
               per share on the date of purchase/acquisition as stated in Table A; or
               (ii) the purchase/acquisition price minus $109.25.3


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    Pursuant to Section 21D(e)(1) of the Exchange Act, “in any private action arising under this
title in which the plaintiff seeks to establish damages by reference to the market price of a
security, the award of damages to the plaintiff shall not exceed the difference between the
purchase or sale price paid or received, as appropriate, by the plaintiff for the subject security
and the mean trading price of that security during the 90-day period beginning on the date on
which the information correcting the misstatement or omission that is the basis for the action is
disseminated to the market.” Consistent with the requirements of the Exchange Act, Recognized
Loss Amounts are reduced to an appropriate extent by taking into account the closing price of
Equifax common stock during the “90-day look-back period,” September 15, 2017 through and
including December 13, 2017. The mean (average) closing price for Equifax common stock
during this 90-day look-back period was $109.25.



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                          ADDITIONAL PROVISIONS
 62. Calculation of Claimant’s “Recognized Claim”:                A Claimant’s
“Recognized Claim” will be the sum of his, her, or its Recognized Loss Amounts
as calculated under ¶ 61 above.
  63. FIFO Matching: If a Settlement Class Member made more than one
purchase/acquisition or sale of Equifax common stock during the Class Period, all
purchases/acquisitions and sales will be matched on a First In, First Out (“FIFO”)
basis. Class Period sales will be matched first against any holdings at the
beginning of the Class Period and then against purchases/acquisitions in
chronological order, beginning with the earliest purchase/acquisition made during
the Class Period.
 64. Purchase/Sale Prices: For the purposes of calculations in ¶ 61 above,
“purchase/acquisition price” means the actual price paid, excluding any fees,
commissions, and taxes, and “sale price” means the actual amount received, not
deducting any fees, commissions, and taxes.
  65. “Purchase/Acquisition/Sale” Dates: Purchases or acquisitions and sales of
Equifax common stock will be deemed to have occurred on the “contract” or
“trade” date as opposed to the “settlement” or “payment” date. The receipt or
grant by gift, inheritance, or operation of law of Equifax common stock during the
Class Period will not be deemed a purchase, acquisition, or sale of Equifax
common stock for the calculation of a Claimant’s Recognized Loss Amount, nor
will the receipt or grant be deemed an assignment of any claim relating to the
purchase/acquisition/sale of Equifax common stock unless (i) the donor or
decedent purchased or otherwise acquired or sold such Equifax common stock
during the Class Period; (ii) the instrument of gift or assignment specifically
provides that it is intended to transfer such rights; and (iii) no Claim was submitted
by or on behalf of the donor, on behalf of the decedent, or by anyone else with
respect to shares of such shares of Equifax common stock.
  66. Short Sales: The date of covering a “short sale” is deemed to be the date of
purchase or acquisition of the Equifax common stock. The date of a “short sale” is
deemed to be the date of sale of the Equifax common stock. In accordance with
the Plan of Allocation, however, the Recognized Loss Amount on “short sales” and
the purchases covering “short sales” is zero.
 67. In the event that a Claimant has an opening short position in Equifax
common stock, the earliest purchases or acquisitions of Equifax common stock


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during the Class Period will be matched against such opening short position, and
not be entitled to a recovery, until that short position is fully covered.
  68. Common Stock Purchased/Sold Through the Exercise of Options:
Option contracts are not securities eligible to participate in the Settlement. With
respect to Equifax common stock purchased or sold through the exercise of an
option, the purchase/sale date of the security is the exercise date of the option and
the purchase/sale price is the exercise price of the option.
  69. Market Gains and Losses: The Claims Administrator will determine if the
Claimant had a “Market Gain” or a “Market Loss” with respect to his, her, or its
overall transactions in Equifax common stock during the Class Period. For
purposes of making this calculation, the Claims Administrator will determine the
difference between (i) the Claimant’s Total Purchase Amount4 and (ii) the sum of
the Claimant’s Total Sales Proceeds5 and the Claimant’s Holding Value.6 If the
Claimant’s Total Purchase Amount minus the sum of the Claimant’s Total Sales
Proceeds and the Holding Value is a positive number, that number will be the
Claimant’s Market Loss; if the number is a negative number or zero, that number
will be the Claimant’s Market Gain.
  70. If a Claimant had a Market Gain with respect to his, her, or its overall
transactions in Equifax common stock during the Class Period, the value of the
Claimant’s Recognized Claim will be zero, and the Claimant will in any event be
bound by the Settlement. If a Claimant suffered an overall Market Loss with
respect to his, her, or its overall transactions in Equifax common stock during the
Class Period but that Market Loss was less than the Claimant’s Recognized Claim

4
   The “Total Purchase Amount” is the total amount the Claimant paid (excluding any fees,
commissions, and taxes) for all shares of publicly-traded Equifax common stock
purchased/acquired during the Class Period.
5
   The Claims Administrator will match any sales of publicly-traded Equifax common stock
during the Class Period first against the Claimant’s opening position in Equifax common stock
(the proceeds of those sales will not be considered for purposes of calculating market gains or
losses). The total amount received (not deducting any fees, commissions, and taxes) for sales of
the remaining shares of publicly-traded Equifax common stock sold during the Class Period is
the “Total Sales Proceeds.”
6
   The Claims Administrator will ascribe a “Holding Value” of $92.98 to each share of publicly-
traded Equifax common stock purchased/acquired during the Class Period that was still held as
of the close of trading on September 15, 2017.



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calculated pursuant to ¶¶ 61-62 above, then the Claimant’s Recognized Claim will
be limited to the amount of the Market Loss.
  71. Determination of Distribution Amount: If the sum total of Recognized
Claims of all Authorized Claimants who are entitled to receive payment out of the
Net Settlement Fund is greater than the Net Settlement Fund, each Authorized
Claimant will receive his, her, or its pro rata share of the Net Settlement Fund.
The pro rata share will be the Authorized Claimant’s Recognized Claim divided
by the total of Recognized Claims of all Authorized Claimants, multiplied by the
total amount in the Net Settlement Fund.
 72. If the Net Settlement Fund exceeds the sum total amount of the Recognized
Claims of all Authorized Claimants entitled to receive payment out of the Net
Settlement Fund, the excess amount in the Net Settlement Fund will be distributed
pro rata to all Authorized Claimants entitled to receive payment.
 73. If an Authorized Claimant’s Distribution Amount calculates to less than
$10.00, no distribution will be made to that Authorized Claimant.
  74. After the initial distribution of the Net Settlement Fund, the Claims
Administrator will make reasonable and diligent efforts to have Authorized
Claimants cash their distribution checks. To the extent any monies remain in the
Net Settlement Fund after the initial distribution, if Lead Counsel, in consultation
with the Claims Administrator, determines that it is cost-effective to do so, the
Claims Administrator, no less than nine (9) months after the initial distribution,
will conduct a re-distribution of the funds remaining after payment of any unpaid
fees and expenses incurred in administering the Settlement, including for such re-
distribution, to Authorized Claimants who have cashed their initial distributions
and who would receive at least $10.00 from such re-distribution. Additional re-
distributions to Authorized Claimants who have cashed their prior checks may
occur thereafter if Lead Counsel, in consultation with the Claims Administrator,
determines that additional re-distributions, after the deduction of any additional
fees and expenses incurred in administering the Settlement, including for such re-
distributions, would be cost-effective. At such time as it is determined that the re-
distribution of funds remaining in the Net Settlement Fund is not cost-effective, the
remaining balance will be contributed to non-sectarian, not-for-profit, 501(c)(3)
organization(s), to be recommended by Lead Counsel and approved by the Court.
  75. Payment pursuant to the Plan of Allocation, or such other plan of allocation
as may be approved by the Court, will be conclusive against all Authorized
Claimants. No person shall have any claim against Lead Plaintiff, Plaintiff’s

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Counsel, Lead Plaintiff’s damages or consulting experts, Defendants, Defendants’
Counsel, or any of the other Plaintiff’s Releasees or Defendants’ Releasees, or the
Claims Administrator or other agent designated by Lead Counsel arising from
distributions made substantially in accordance with the Stipulation, the plan of
allocation approved by the Court, or further Orders of the Court. Lead Plaintiff,
Defendants, and their respective counsel, and all other Defendants’ Releasees, shall
have no responsibility or liability whatsoever for the investment or distribution of
the Settlement Fund or the Net Settlement Fund; the plan of allocation; the
determination, administration, calculation, or payment of any Claim or
nonperformance of the Claims Administrator; the payment or withholding of
Taxes; or any losses incurred in connection therewith.
 76. The Plan of Allocation stated herein is the plan that is being proposed to the
Court for its approval by Lead Plaintiff after consultation with their damages
expert. The Court may approve this plan as proposed or it may modify the Plan of
Allocation without further notice to the Class. Any Orders regarding any
modification of the Plan of Allocation will be posted on the Settlement website,
www.EquifaxSecuritiesLitigation.com.

  WHAT PAYMENT ARE THE ATTORNEYS FOR THE SETTLEMENT
     CLASS SEEKING? HOW WILL THE LAWYERS BE PAID?

  77. Plaintiff’s Counsel have not received any payment for their services in
pursuing claims asserted in the Action on behalf of the Settlement Class, nor have
Plaintiff’s Counsel been paid for their litigation expenses. Before final approval of
the Settlement, Lead Counsel will apply to the Court for an award of attorneys’
fees for Plaintiff’s Counsel in an amount not to exceed 20% of the Settlement
Fund. At the same time, Lead Counsel also intends to apply for payment of
Litigation Expenses incurred by Plaintiff’s Counsel in an amount not to exceed
$1,000,000, which may include an application for reimbursement of the reasonable
costs and expenses incurred by Lead Plaintiff directly related to its representation
of the Settlement Class, pursuant to the PSLRA. The Court will determine the
amount of any award of attorneys’ fees or Litigation Expenses. Such sums as may
be approved by the Court will be paid from the Settlement Fund. Settlement Class
Members are not personally liable for any such fees or expenses.




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WHAT IF I DO NOT WANT TO BE A MEMBER OF THE SETTLEMENT
            CLASS? HOW DO I EXCLUDE MYSELF?

  78. Each Settlement Class Member will be bound by all determinations and
judgments in this lawsuit, whether favorable or unfavorable, unless such person or
entity mails or delivers a written Request for Exclusion from the Settlement Class,
addressed to Equifax Securities Litigation, EXCLUSIONS, c/o JND Legal
Administration, PO Box 91319, Seattle, WA 98111, that is accepted by the Court.
The Request for Exclusion must be received no later than _____________, 2020.
You will not be able to exclude yourself from the Settlement Class after that date.
Each Request for Exclusion must (i) state the name, address, and telephone number
of the person or entity requesting exclusion, and in the case of entities, the name
and telephone number of the appropriate contact person; (ii) state that such person
or entity “requests exclusion from the Settlement Class in In re Equifax Inc.
Securities Litigation, Case No. 1:17-cv-03463-TWT”; (iii) state the number of
shares of publicly-traded Equifax common stock that the person or entity
requesting exclusion (A) owned as of the opening of trading on February 25, 2016
and (B) purchased/acquired and/or sold during the Class Period (i.e., from
February 25, 2016 through September 15, 2017, inclusive), as well as the dates,
number of shares, and prices of each such purchase/acquisition and sale; and
(iv) be signed by the person or entity requesting exclusion or an authorized
representative. A Request for Exclusion that does not provide all the information
called for in this paragraph and is not received within the time stated above will be
invalid and will not be allowed. Lead Counsel may request that the person or
entity requesting exclusion submit documentation sufficient to prove his, her, or its
holdings and trading in Equifax common stock as called for above.
  79. If you do not want to be part of the Settlement Class, you must follow these
instructions for exclusion even if you have pending, or later file, another lawsuit,
arbitration, or other proceeding relating to any Released Plaintiff’s Claim against
any of the Defendants’ Releasees.
  80. If you ask to be excluded from the Settlement Class, you will not be eligible
to receive any payment out of the Net Settlement Fund.
 81. Equifax has the right to terminate the Settlement if valid requests for
exclusion are received from persons and entities entitled to be members of the
Settlement Class in an amount that exceeds an amount agreed to by Lead Plaintiff
and Defendants.


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  WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO
  APPROVE THE SETTLEMENT? DO I HAVE TO COME TO THE
 HEARING? MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE
                     SETTLEMENT?

  82. Settlement Class Members do not need to attend the Settlement
Fairness Hearing. The Court will consider any submission made in
accordance with the provisions below even if a Settlement Class Member does
not attend the hearing. You can participate in the Settlement without
attending the Settlement Fairness Hearing. Please Note: The date and time of
the Settlement Fairness Hearing may change without further written notice to the
Settlement Class. You should monitor the Court’s docket and the Settlement
website, www.EquifaxSecuritiesLitigation.com, before making plans to attend the
Settlement Fairness Hearing. You may also confirm the date and time of the
Settlement Fairness Hearing by contacting Lead Counsel.
  83. The Settlement Fairness Hearing will be held on _____________, 2020 at
__:__ _.m., before the Honorable Thomas W. Thrash, Jr. at the United States
District Court for the Northern District of Georgia, Courtroom 2108 of the Richard
B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive,
SW, Atlanta, GA 30303, to determine, among other things, (i) whether the
proposed Settlement on the terms and conditions provided for in the Stipulation is
fair, reasonable, and adequate to the Settlement Class, and should be finally
approved by the Court; (ii) whether, for purposes of the Settlement only, the
Action should be certified as a class action on behalf of the Settlement Class, Lead
Plaintiff should be certified as Class Representative for the Settlement Class, and
Lead Counsel should be appointed as Class Counsel for the Settlement Class;
(iii) whether the Action should be dismissed with prejudice against Defendants and
the Releases specified and described in the Stipulation (and in this Notice) should
be granted; (iv) whether the proposed Plan of Allocation should be approved as fair
and reasonable; (v) whether Lead Counsel’s application for an award of attorneys’
fees and Litigation Expenses should be approved; and (vi) any other matters that
may properly be brought before the Court in connection with the Settlement. The
Court reserves the right to certify the Settlement Class; approve the Settlement, the
Plan of Allocation, and Lead Counsel’s motion for an award of attorneys’ fees and
Litigation Expenses; and/or consider any other matter related to the Settlement at
or after the Settlement Fairness Hearing without further notice to the members of
the Settlement Class.


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  84. Any Settlement Class Member who or which does not request exclusion may
object to the Settlement, the proposed Plan of Allocation, or Lead Counsel’s
motion for attorneys’ fees and Litigation Expenses. Objections must be in writing.
You must file any written objection, together with copies of all other papers and
briefs supporting the objection, electronically with the Court or by letter mailed to
the Clerk’s Office at the United States District Court for the Northern District of
Georgia, Atlanta Division at the address set forth below on or before
_____________, 2020. You must also serve the papers on Lead Counsel and on
Equifax’s Counsel at the addresses set forth below so that the papers are received
on or before _____________, 2020.
                               CLERK’S OFFICE
                           United States District Court
                 Northern District of Georgia, Atlanta Division
                                 Clerk’s Office
        Richard B. Russell Federal Building and United States Courthouse
                            75 Ted Turner Drive, SW
                               Atlanta, GA 30303
            LEAD COUNSEL                           EQUIFAX’S COUNSEL
      Bernstein Litowitz Berger                      King & Spalding LLP
         & Grossmann LLP                             Michael R. Smith, Esq.
        James A. Harrod, Esq.                        B. Warren Pope, Esq.
1251 Avenue of the Americas, 44th Floor              1180 Peachtree Street
        New York, NY 10020                            Atlanta, GA 30309

 85. To object, you must send a letter stating that you object to the Settlement.
Your objection must include:
      (1)    The name of this proceeding, In re Equifax Inc. Securities Litigation,
             Case No. 1:17-cv-03463-TWT, or similar identifying words such as
             “Equifax Securities Litigation”;
      (2)    Your full name, current address, and telephone number;
      (3)    Your personal signature (your attorney’s signature is not enough);
      (4)    A statement providing the specific reasons for your objection,
             including a detailed statement of the specific legal and factual basis
             for each and every objection and whether your objection applies only


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            to the objector, to a specific subset of the Settlement Class, or to the
            entire Settlement Class;
      (5)   Documents sufficient to prove membership in the Settlement Class,
            including documents showing the number of shares of publicly traded
            Equifax common stock that you: (A) owned as of the opening of
            trading on February 25, 2016 and (B) purchased/acquired and/or sold
            during the Class Period (i.e., from February 25, 2016 through
            September 15, 2017, inclusive), as well as the dates, number of shares,
            and prices of each such purchase/acquisition and sale. Documentation
            establishing membership in the Settlement Class must consist of
            copies of brokerage confirmation slips or monthly brokerage account
            statements, or an authorized statement from your broker containing
            the transactional and holding information found in a broker
            confirmation slip or account statement;
      (6)   A statement identifying by case name, case number, and court, all
            class action settlements to which you have objected in the previous
            five (5) years;
      (7)   A statement as to whether you intend to appear at the Settlement
            Fairness Hearing, either in person or through a lawyer, and four dates
            between ________, 2020 and _________, 2020 during which you are
            available to be deposed by counsel for the Parties; and
      (8)   If you want to present evidence at the Settlement Fairness Hearing, a
            detailed description of any and all evidence you may offer at the
            hearing, including copies of any and all exhibits that you may
            introduce into evidence at the hearing, and the identify of any
            witnesses that you may call to testify at the hearing.
      If you are represented by a lawyer, your written objection must also include:
      (9)   Your lawyer’s name, address, and telephone number; and
      (10) A statement indicating whether your lawyer will appear at the
           Settlement Fairness Hearing to present your objection on your behalf.
      Additionally, if you are represented by a lawyer, and your lawyer intends to
seek compensation for his or her services from anyone other than you, your written
objection letter must include:
      (11) The identity of all lawyers that represent you, including any former or


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             current lawyer who may be entitled to compensation for any reason
             related to the objection;
      (12) A statement identifying all instances in which your lawyer or your
           lawyer’s law firm objected to a class action settlement in the previous
           five (5) years, providing the case name, case number, and court;
      (13) A statement identifying all agreements or contracts that relate to the
           objection or the process of objecting—whether written or oral—
           between you, your lawyer, and/or any other person or entity;
      (14) A description of your lawyer’s legal background and prior experience
           in connection with class action litigation; and
      (15) A statement regarding whether your lawyer’s compensation will be
           calculated on the basis of a lodestar, contingency, or other method; an
           estimate of the amount of fees to be sought; the factual and legal
           justification for any fees to be sought; the number of hours already
           spent by your lawyer and an estimate of the hours to be spent in the
           future; and the lawyer’s hourly rate.
 86. You may not object to the Settlement, the Plan of Allocation, or Lead
Counsel’s motion for attorneys’ fees and Litigation Expenses if you exclude
yourself from the Settlement Class or if you are not a member of the Settlement
Class.
  87. You may file a written objection without having to appear at the Settlement
Fairness Hearing. You may not, however, appear at the Settlement Fairness
Hearing to present your objection unless you first file and serve a written objection
in accordance with the procedures described above, unless the Court orders
otherwise.
  88. If you wish to be heard orally at the hearing in opposition to the approval of
the Settlement, the Plan of Allocation, or Lead Counsel’s motion for an award of
attorneys’ fees and Litigation Expenses, assuming you timely file and serve a
written objection as described above, you must also file a notice of appearance
electronically with the Court or by letter mailed to the Clerks’ office and serve it
on Lead Counsel and on Equifax’s Counsel at the addresses set forth in ¶ 84 above
so that it is received on or before ___________, 2020. Objectors and/or their
counsel may be heard orally at the discretion of the Court.
 89. You are not required to hire an attorney to represent you in making written
objections or in appearing at the Settlement Fairness Hearing. However, if you

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decide to hire an attorney, it will be at your own expense, and that attorney must
file a notice of appearance with the Court and serve it on Lead Counsel and
Equifax’s Counsel at the addresses set forth in ¶ 84 above so that the notice is
received on or before ___________, 2020.
  90. The Settlement Fairness Hearing may be adjourned by the Court without
further written notice to the Settlement Class. If you intend to attend the
Settlement Fairness Hearing, you should confirm the date and time with Lead
Counsel.
  91. Unless the Court orders otherwise, any Settlement Class Member who
does not object in the manner described above will be deemed to have waived
any objection and shall be forever foreclosed from making any objection to
the proposed Settlement, the proposed Plan of Allocation, or Lead Counsel’s
motion for an award of attorneys’ fees and Litigation Expenses. Settlement
Class Members do not need to appear at the Settlement Fairness Hearing or
take any other action to indicate their approval.

    WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

  92. If you purchased or otherwise acquired shares of publicly-traded Equifax
common stock during the period from February 25, 2016 through September 15,
2017, inclusive, for the beneficial interest of persons or organizations other than
yourself, you must either (i) within seven (7) calendar days of receipt of this
Notice, request from the Claims Administrator sufficient copies of the Notice and
Claim Form (the “Notice Packet”) to forward to all such beneficial owners and
within seven (7) calendar days of receipt of those Notice Packets forward them to
all such beneficial owners; or (ii) within seven (7) calendar days of receipt of this
Notice, provide a list of the names, addresses, and email addresses (if available) of
all such beneficial owners to Equifax Securities Litigation, c/o JND Legal
Administration, PO Box 91319, Seattle, WA 98111. If you choose the second
option, the Claims Administrator will send a copy of the Notice Packet to the
beneficial owners. Upon full compliance with these directions, such nominees
may seek reimbursement of their reasonable expenses actually incurred, by
providing the Claims Administrator with proper documentation supporting the
expenses for which reimbursement is sought. Copies of this Notice and the Claim
Form      may     also     be    obtained     from    the    Settlement     website,
www.EquifaxSecuritiesLitigation.com, by calling the Claims Administrator toll-



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free at 1-844-975-1781, or by emailing the Claims Administrator at
info@EquifaxSecuritiesLitigation.com.

CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE
                        QUESTIONS?

 93. This Notice contains only a summary of the terms of the proposed
Settlement. For more detailed information about the matters involved in this
Action, you are referred to the papers on file in the Action, including the
Stipulation, which may be inspected during regular office hours at the Office of the
Clerk, United States District Court for the Northern District of Georgia, Atlanta
Division, Richard B. Russell Federal Building and United States Courthouse, 75
Ted Turner Drive, SW, Atlanta, GA 30303. Additionally, copies of the Stipulation
and any related orders entered by the Court will be posted on the Settlement
website, www.EquifaxSecuritiesLitigation.com.
       All inquiries concerning this Notice and the Claim Form should be directed
to:
     Equifax Securities Litigation   and/or            James A. Harrod, Esq.
    c/o JND Legal Administration                     Bernstein Litowitz Berger
            PO Box 91319                                 & Grossmann LLP
          Seattle, WA 98111                        1251 Avenue of the Americas,
           1-844-975-1781                                     44th Floor
info@EquifaxSecuritiesLitigation.com                   New York, NY 10020
www.EquifaxSecuritiesLitigation.com                        1-800-380-8496
                                                     settlements@blbglaw.com

DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE
CLERK OF THE COURT, DEFENDANTS, OR THEIR COUNSEL
REGARDING THIS NOTICE.

Dated: _______________, 2020                       By Order of the Court
                                                   United States District Court
                                                   Northern District of Georgia,
                                                    Atlanta Division




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                                  TABLE A

Estimated Artificial Inflation with Respect to Transactions in Publicly-Traded
Equifax Common Stock from February 25, 2016 through September 15, 2017

                                                                 Artificial
                   Transaction Date Range                      Inflation Per
                                                                   Share
           February 25, 2016 – September 7, 2017                  $22.46
          September 8, 2017 – September 10, 2017                  $12.79
          September 11, 2017 – September 12, 2017                  $8.34
                     September 13, 2017                            $1.56
          September 14, 2017 – September 15, 2017                  $0.96
              (prior to 12:20 PM Eastern time)
    September 15, 2017 (at or after 12:20 PM Eastern time)        $0.00




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                                 TABLE B

  90-Day Look-Back Table for Publicly-Traded Equifax Common Stock
    (Average Closing Price: September 15, 2017 – December 13, 2017)

               Average Closing                         Average Closing
                Price Between                           Price Between
                9/15/2017 and                           9/15/2017 and
    Date         Date Shown                 Date         Date Shown
 9/15/2017           $92.98             10/31/2017            $106.99
 9/18/2017           $93.68              11/1/2017            $107.07
 9/19/2017           $94.08              11/2/2017            $107.12
 9/20/2017           $94.56              11/3/2017            $107.17
 9/21/2017           $95.30              11/6/2017            $107.19
 9/22/2017           $96.92              11/7/2017            $107.19
 9/25/2017           $98.09              11/8/2017            $107.19
 9/26/2017           $99.08              11/9/2017            $107.24
 9/27/2017           $99.90             11/10/2017            $107.28
 9/28/2017          $100.55             11/13/2017            $107.31
 9/29/2017          $101.04             11/14/2017            $107.36
 10/2/2017          $101.61             11/15/2017            $107.42
 10/3/2017          $102.29             11/16/2017            $107.47
 10/4/2017          $102.98             11/17/2017            $107.56
 10/5/2017          $103.64             11/20/2017            $107.63
 10/6/2017          $104.12             11/21/2017            $107.69
 10/9/2017          $104.60             11/22/2017            $107.73
10/10/2017          $105.10             11/24/2017            $107.78
10/11/2017          $105.38             11/27/2017            $107.83
10/12/2017          $105.55             11/28/2017            $107.91
10/13/2017          $105.74             11/29/2017            $108.00
10/16/2017          $105.88             11/30/2017            $108.12
10/17/2017          $105.99              12/1/2017            $108.20
10/18/2017          $106.19              12/4/2017            $108.30
10/19/2017          $106.36              12/5/2017            $108.40
10/20/2017          $106.50              12/6/2017            $108.53
10/23/2017          $106.60              12/7/2017            $108.67
10/24/2017          $106.68              12/8/2017            $108.81

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 10/25/2017           $106.71            12/11/2017             $108.97
 10/26/2017           $106.79            12/12/2017             $109.12
 10/27/2017           $106.87            12/13/2017             $109.25
 10/30/2017           $106.94

#1345326




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                EXHIBIT A-2
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                                                                                                        Exhibit A-2



 PROOF OF CLAIM
  AND RELEASE
TO BE POTENTIALLY ELIGIBLE TO RECEIVE A SHARE OF THE NET SETTLEMENT
FUND IN CONNECTION WITH THE SETTLEMENT OF THIS ACTION, YOU MUST
COMPLETE AND SIGN THIS PROOF OF CLAIM AND RELEASE FORM (“CLAIM
FORM”) AND MAIL IT BY FIRST-CLASS MAIL TO THE ADDRESS BELOW, WITH
SUPPORTING DOCUMENTATION, POSTMARKED NO LATER THAN ____________,
2020.
       Mail to:
                                     Equifax Securities Litigation
                                    c/o JND Legal Administration
                                            PO Box 91319
                                          Seattle, WA 98111
Failure to submit your Claim Form by the date specified will subject your claim to rejection and may preclude
you from being eligible to receive a payment from the Settlement.

Do not mail or deliver your Claim Form to the Court, Lead Counsel, Defendants’ Counsel, or any of the
Parties to the Action. Submit your Claim Form only to the Claims Administrator at the address set forth
above.

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     PART II – GENERAL INSTRUCTIONS                                                                            [__]

      PART III – SCHEDULE OF TRANSACTIONS IN EQUIFAX COMMON STOCK
                (NYSE: EFX, CUSIP: 294429105)                                                                  [__]

     PART IV – RELEASE OF CLAIMS AND SIGNATURE                                                                 [__]




Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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                                               PART I – CLAIMANT INFORMATION

The Claims Administrator will use this information for all communications regarding this Claim Form. If this
information changes, you MUST notify the Claims Administrator in writing at the address above. Complete
names of all persons and entities must be provided.
Beneficial Owner’s Name
First Name                                                        Last Name



Joint Beneficial Owner’s Name (if applicable)
First Name                                                        Last Name



If this claim is submitted for an IRA, and if you would like any check that you MAY be eligible to receive made payable to the IRA, please include
“IRA” in the “Last Name” box above (e.g., Jones IRA).

Entity Name (if the Beneficial Owner is not an individual)



Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.), if different from Beneficial Owner



Last 4 digits of Taxpayer Identification Number (for claimants which are not natural persons)



Street Address



City                                                                                     State/Province    Zip Code



Foreign Postal Code (if applicable)                          Foreign Country (if applicable)



Telephone Number (Day)                                                   Telephone Number (Evening)



Email Address (email address is not required, but if you provide it you authorize the Claims Administrator to use it in providing you with information
relevant to this claim)



Type of Beneficial Owner:
Specify one of the following:

       Individual(s)                  Corporation                UGMA Custodian                IRA


       Partnership                    Estate                     Trust                         Other (describe: _______________________)


                                                                     Page 2
Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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                                    PART II – GENERAL INSTRUCTIONS

        1.      It is important that you completely read and understand the Notice of (I) Pendency of Class
Action and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of Attorneys’
Fees and Litigation Expenses (the “Notice”) that accompanies this Claim Form, including the Plan of Allocation
of the Net Settlement Fund set forth in the Notice. The Notice describes the proposed Settlement, how
Settlement Class Members are affected by the Settlement, and the manner in which the Net Settlement Fund
will be distributed if the Settlement and Plan of Allocation are approved by the Court. The Notice also contains
the definitions of many of the defined terms (which are indicated by initial capital letters) used in this Claim
Form. By signing and submitting this Claim Form, you will be certifying that you have read and that you
understand the Notice, including the terms of the releases described therein and provided for herein.
        2.      By submitting this Claim Form, you will be making a request to receive a payment from the
Settlement described in the Notice. IF YOU ARE NOT A SETTLEMENT CLASS MEMBER (see the
definition of the Settlement Class on page [__] of the Notice, which sets forth who is included in and who is
excluded from the Settlement Class), OR IF YOU, OR SOMEONE ACTING ON YOUR BEHALF,
SUBMITTED A REQUEST FOR EXCLUSION FROM THE SETTLEMENT CLASS, DO NOT SUBMIT A
CLAIM FORM. YOU MAY NOT, DIRECTLY OR INDIRECTLY, PARTICIPATE IN THE
SETTLEMENT IF YOU ARE NOT A SETTLEMENT CLASS MEMBER. THUS, IF YOU ARE
EXCLUDED FROM THE SETTLEMENT CLASS, ANY CLAIM FORM THAT YOU SUBMIT, OR THAT
MAY BE SUBMITTED ON YOUR BEHALF, WILL NOT BE ACCEPTED.
       3.     Submission of this Claim Form does not guarantee that you will be eligible to receive a
payment from the Settlement. The distribution of the Net Settlement Fund will be governed by the Plan
of Allocation set forth in the Notice, if it is approved by the Court, or by such other plan of allocation as
the Court approves.
        4.     Use the Schedule of Transactions in Part III of this Claim Form to supply all required details of
your transaction(s) in, and holdings of, Equifax common stock. On this schedule, provide all of the requested
information with respect to your holdings, purchases, acquisitions, and sales of Equifax common stock
(including free transfers and deliveries), whether such transactions resulted in a profit or a loss. Failure to
report all transaction and holding information during the requested time period may result in the
rejection of your claim.
        5.      Please note: Only publicly-traded Equifax common stock purchased or otherwise acquired
during the period from February 25, 2016 through September 15, 2017 (prior to 12:20 PM Eastern time) is
eligible under the Settlement. However, sales of Equifax common stock during the period from September 15,
2017 (at or after 12:20 PM Eastern time) through and including the close of trading on December 13, 2017, will
be used for purposes of calculating your claim under the Plan of Allocation. Therefore, in order for the Claims
Administrator to be able to balance your claim, the requested purchase/acquisition information during this
period must also be provided.
       6.      You are required to submit genuine and sufficient documentation for all of your transactions in
and holdings of Equifax common stock set forth in the Schedule of Transactions in Part III of this Claim Form.
Documentation may consist of copies of brokerage confirmation slips or monthly brokerage account statements,
or an authorized statement from your broker containing the transactional and holding information found in a
broker confirmation slip or account statement. The Parties and the Claims Administrator do not independently
have information about your investments in Equifax common stock. IF SUCH DOCUMENTS ARE NOT IN
YOUR POSSESSION, PLEASE OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT

                                                      Page 3
Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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DOCUMENTS FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION MAY
RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL DOCUMENTS. Please
keep a copy of all documents that you send to the Claims Administrator. Also, do not highlight any
portion of the Claim Form or any supporting documents.
        7.     For shares of Equifax common stock purchased or sold on September 15, 2017, the calculation
of Recognized Loss Amounts under the Plan of Allocation will depend on the time of day that the transaction
occurred. If the documentation that you submit with your Claim Form does not state the time of day of the
transaction on September 15, 2017, the following assumptions will be made: (a) for shares purchased/acquired
or sold at any price equal to or greater than $92.21 per share, it will be assumed that the trade occurred prior to
12:20 p.m. Eastern time and (b) for shares purchased/acquired or sold at any price less than $92.21 per share, it
will be assumed that the trade occurred at or after 12:20 p.m. Eastern time.
        8.     Use Part I of this Claim Form entitled “CLAIMANT INFORMATION” to identify the beneficial
owner(s) of Equifax common stock. The complete name(s) of the beneficial owner(s) must be entered. If you
held the Equifax common stock in your own name, you were the beneficial owner as well as the record owner.
If, however, your shares of Equifax common stock were registered in the name of a third party, such as a
nominee or brokerage firm, you were the beneficial owner of these shares, but the third party was the record
owner. The beneficial owner, not the record owner, must sign this Claim Form to be eligible to participate in
the Settlement. If there were joint beneficial owners, each must sign this Claim Form and each of their names
must be included in Part I of this Claim Form.
        9.     One Claim should be submitted for each separate legal entity. Separate Claim Forms should
be submitted for each separate legal entity (e.g., a claim from joint owners should not include separate
transactions of just one of the joint owners, and an individual should not combine his or her IRA transactions
with transactions made solely in the individual’s name). Conversely, a single Claim Form should be submitted
on behalf of one legal entity including all transactions made by that entity on one Claim Form, no matter how
many separate accounts that entity has (e.g., a corporation with multiple brokerage accounts should include all
transactions made in all accounts on one Claim Form).
      10.     Agents, executors, administrators, guardians, and trustees must complete and sign the Claim
Form on behalf of persons represented by them, and they must:
               (a)     expressly state the capacity in which they are acting;
               (b)     identify the name, account number, address, and telephone number of the beneficial
                       owner of (or other person or entity on whose behalf they are acting with respect to) the
                       Equifax common stock; and
               (c)     furnish herewith evidence of their authority to bind to the Claim Form the person or
                       entity on whose behalf they are acting. (Authority to complete and sign a Claim Form
                       cannot be established by stockbrokers demonstrating only that they have discretionary
                       authority to trade securities in another person’s accounts.)
       11.     By submitting a signed Claim Form, you will be swearing that you:
               (a)     own(ed) the Equifax common stock you have listed in the Claim Form; or
               (b)     are expressly authorized to act on behalf of the owner thereof.
       12.     By submitting a signed Claim Form, you will be swearing to the truth of the statements
contained therein and the genuineness of the documents attached thereto, subject to penalties of perjury under
the laws of the United States of America. The making of false statements, or the submission of forged or
                                                      Page 4
Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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fraudulent documentation, will result in the rejection of your claim and may subject you to civil liability or
criminal prosecution.
       13.     If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant to the
Plan of Allocation (or such other plan of allocation as the Court approves) will be made after any appeals are
resolved, and after the completion of all claims processing. The claims process will take substantial time to
complete fully and fairly. Please be patient.
        14.      PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive
his, her, or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized Claimant
calculates to less than $10.00, it will not be included in the calculation and no distribution will be made to that
Authorized Claimant.
       15.     If you have questions concerning the Claim Form, or need additional copies of the Claim Form
or the Notice, you may contact the Claims Administrator, JND Legal Administration, at the above address, by
email at info@EquifaxSecuritiesLitigation.com, or by toll-free phone at 1-844-975-1781, or you can visit the
Settlement website, www.EquifaxSecuritiesLitigation.com, where copies of the Claim Form and Notice are
available for downloading.
        16.     NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of
transactions may request, or may be requested, to submit information regarding their transactions in electronic
files. To obtain the mandatory electronic filing requirements and file layout, you may visit the Settlement
website at www.EquifaxSecuritiesLitigation.com or you may email the Claims Administrator’s electronic filing
department at info@EquifaxSecuritiesLitigation.com. Any file not in accordance with the required
electronic filing format will be subject to rejection. Only one claim should be submitted for each separate
legal entity (see ¶ 9 above) and the complete name of the beneficial owner of the securities must be entered
where called for (see ¶ 8 above). No electronic files will be considered to have been submitted unless the
Claims Administrator issues an email to that effect. Do not assume that your file has been received until you
receive this email. If you do not receive such an email within 10 days of your submission, you should
contact the electronic filing department at info@EquifaxSecuritiesLitigation.com to inquire about your
file and confirm it was received.

                                         IMPORTANT: PLEASE NOTE
YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT
POSTCARD. THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR
CLAIM FORM WITHIN 60 DAYS OF YOUR SUBMISSION. IF YOU DO NOT RECEIVE AN
ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS, CONTACT THE CLAIMS
ADMINISTRATOR   TOLL    FREE   AT    1-844-975-1781 OR BY   EMAIL   AT
INFO@EQUIFAXSECURITIESLITIGATION.COM.




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Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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                PART III – SCHEDULE OF TRANSACTIONS IN EQUIFAX COMMON STOCK
  The only eligible security is Equifax Inc. common stock (NYSE: EFX, CUSIP: 294429105). Do not include
  information regarding securities other than Equifax common stock. Please include proper documentation with
  your Claim Form as described in detail in Part II – General Instructions, ¶ 6 above.
1. HOLDINGS AS OF FEBRUARY 25, 2016 – State the total number of shares of Equifax                        Confirm Proof of
common stock held as of the opening of trading on February 25, 2016. (Must be documented.) If            Position Enclosed
none, write “zero” or “0.” ____________________                                                                 ○
2. PURCHASES/ACQUISITIONS FROM FEBRUARY 25, 2016 THROUGH SEPTEMBER 15, 2017 – Separately list
each and every purchase or acquisition (including free receipts) of Equifax common stock from after the opening of trading on
February 25, 2016 through and including the close of trading on September 15, 2017. (Must be documented.)
   Date of Purchase/     Number of Shares        Purchase/Acquisition            Total Purchase/           Confirm Proof of
      Acquisition       Purchased/Acquired          Price Per Share             Acquisition Price        Purchase/Acquisition
(List Chronologically)                                                         (excluding any fees,           Enclosed
  (Month/Day/Year)                                                           commissions, and taxes)

       /    /                                   $                        $                                      ○
       /    /                                   $                        $                                       ○
       /    /                                   $                        $                                       ○
       /    /                                   $                        $                                       ○
3. PURCHASES/ACQUISITIONS FROM SEPTEMBER 16, 2017 THROUGH DECEMBER 13, 2017 – State the total
number of shares of Equifax common stock purchased or acquired (including free receipts) from September 16, 2017 through
and including the close of trading on December 13, 2017. If none, write “zero” or “0.”1 ____________________

4. SALES FROM FEBRUARY 25, 2016 THROUGH DECEMBER 13, 2017 – Separately list                             IF NONE, CHECK
each and every sale or disposition (including free deliveries) of Equifax common stock from after the        HERE
opening of trading on February 25, 2016 through and including the close of trading on December 13,               ○
2017. (Must be documented.)
     Date of Sale              Number of                Sale Price               Total Sale Price         Confirm Proof
(List Chronologically)        Shares Sold               Per Share            (not deducting any fees,    of Sale Enclosed
  (Month/Day/Year)                                                           commissions, and taxes)

       /    /                                   $                        $                                       ○


  1
    Please note: Information requested with respect to your purchases and acquisitions of Equifax common stock from
  September 16, 2017 through and including the close of trading on December 13, 2017 is needed in order to balance your
  claim; purchases during this period, however, are not eligible under the Settlement and will not be used for purposes of
  calculating your Recognized Claim under the Plan of Allocation.


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  Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
  844-975-1781.
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       /        /                               $                      $                                       ○
       /        /                               $                      $                                       ○
       /        /                               $                      $                                       ○

5. HOLDINGS AS OF DECEMBER 13, 2017 – State the total number of shares of Equifax                       Confirm Proof of
common stock held as of the close of trading on December 13, 2017. (Must be documented.) If none,       Position Enclosed
write “zero” or “0.” ________________                                                                          ○


IF YOU REQUIRE ADDITIONAL SPACE FOR THE SCHEDULE ABOVE, ATTACH EXTRA
SCHEDULES IN THE SAME FORMAT. PRINT THE BENEFICIAL OWNER’S FULL NAME ON EACH
ADDITIONAL PAGE. IF YOU DO ATTACH EXTRA SCHEDULES, CHECK THIS BOX.



                                PART IV - RELEASE OF CLAIMS AND SIGNATURE

   YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN ON PAGE __
                              OF THIS CLAIM FORM.

  I (we) hereby acknowledge that, pursuant to the terms set forth in the Stipulation, without further action by
  anyone, upon the Effective Date of the Settlement, I (we), on behalf of myself (ourselves) and my (our) (the
  claimant(s)’) heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such
  only, shall be deemed to have, and by operation of law and of the judgment shall have, fully, finally, and
  forever compromised, settled, released, resolved, relinquished, waived, and discharged any or all of the
  Released Plaintiff’s Claims against Defendants and the other Defendants’ Releasees, and shall forever be barred
  and enjoined from prosecuting any or all of the Released Plaintiff’s Claims against any of the Defendants’
  Releasees.

  CERTIFICATION

  By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s)
  agree(s) to the release above and certifies (certify) as follows:
          1.      that I (we) have read and understand the contents of the Notice and this Claim Form, including
  the releases provided for in the Settlement and the terms of the Plan of Allocation;
         2.     that the claimant(s) is a (are) Settlement Class Member(s), as defined in the Notice, and is (are)
  not excluded by definition from the Settlement Class as set forth in the Notice;
           3.        that the claimant(s) did not submit a request for exclusion from the Settlement Class;
          4.     that I (we) own(ed) the Equifax common stock identified in the Claim Form and have not
  assigned the claim against any of the Defendants or any of the other Defendants’ Releasees to another, or that,
  in signing and submitting this Claim Form, I (we) have the authority to act on behalf of the owner(s) thereof;
                                                         Page 7
  Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
  844-975-1781.
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        5.  that the claimant(s) has (have) not submitted any other claim covering the same purchases of
Equifax common stock and knows (know) of no other person having done so on the claimant’s (claimants’)
behalf;
       6.      that the claimant(s) submit(s) to the jurisdiction of the Court with respect to claimant’s
(claimants’) claim and for purposes of enforcing the releases set forth herein;
      7.      that I (we) agree to furnish such additional information with respect to this Claim Form as Lead
Counsel, the Claims Administrator, or the Court may require;
        8.     that the claimant(s) waive(s) the right to trial by jury, to the extent it exists, and agree(s) to the
determination by the Court of the validity or amount of this claim, and waives any right of appeal or review
with respect to such determination;
      9.      that I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any
judgment(s) that may be entered in the Action; and
        10.    that the claimant(s) is (are) NOT subject to backup withholding under the provisions of Section
3406(a)(1)(C) of the Internal Revenue Code because (i) the claimant(s) is (are) exempt from backup
withholding or (ii) the claimant(s) has (have) not been notified by the IRS that he, she, or it is subject to
backup withholding as a result of a failure to report all interest or dividends or (iii) the IRS has notified the
claimant(s) that he, she, or it is no longer subject to backup withholding. If the IRS has notified the
claimant(s) that he, she, it, or they is (are) subject to backup withholding, please strike out the language
in the preceding sentence indicating that the claim is not subject to backup withholding in the
certification above.

UNDER THE PENALTIES OF PERJURY, I (WE) CERTIFY THAT ALL OF THE INFORMATION
PROVIDED BY ME (US) ON THIS CLAIM FORM IS TRUE, CORRECT, AND COMPLETE, AND THAT
THE DOCUMENTS SUBMITTED HEREWITH ARE TRUE AND CORRECT COPIES OF WHAT THEY
PURPORT TO BE.


Signature of claimant                                                                                  Date


Print claimant name here


Signature of joint claimant, if any                                                                    Date


Print joint claimant name, if any, here




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Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
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If the claimant is other than an individual, or is not the person completing this form, the following also must
be provided:



Signature of person signing on behalf of claimant                                                      Date


Print name of person signing on behalf of claimant here


Capacity of person signing on behalf of claimant, if other than an individual, e.g., executor, president, trustee,
custodian, etc. (Must provide evidence of authority to act on behalf of claimant – see ¶ 10 on page [__] of this
Claim Form.)




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Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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                                            REMINDER CHECKLIST

1. Sign the above release and certification. If this Claim Form is being made on behalf of joint claimants, then
   both must sign.
2. Attach only copies of acceptable supporting documentation as these documents will not be returned to you.
3. Do not highlight any portion of the Claim Form or any supporting documents.
4. Keep copies of the completed Claim Form and documentation for your own records.
5. The Claims Administrator will acknowledge receipt of your Claim Form by mail, within 60 days of your
   submission. Your claim is not deemed filed until you receive an acknowledgement postcard. If you do not
   receive an acknowledgement postcard within 60 days, please call the Claims Administrator toll free at
   1-844-975-1781.
6. If your address changes in the future, or if this Claim Form was sent to an old or incorrect address, you must
   send the Claims Administrator written notification of your new address. If you change your name, inform
   the Claims Administrator.
7. If you have any questions or concerns regarding your claim, contact the Claims Administrator at the address
   below, by email at info@EquifaxSecuritiesLitigation.com, or by toll-free phone at 1-844-975-1781, or you
   may visit www.EquifaxSecuritiesLitigation.com. DO NOT call Equifax or its counsel with questions
   regarding your claim.

THIS CLAIM FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR BY FIRST-CLASS MAIL,
POSTMARKED NO LATER THAN ______________, 2020, ADDRESSED AS FOLLOWS:

                                           Equifax Securities Litigation
                                          c/o JND Legal Administration
                                                  PO Box 91319
                                                Seattle, WA 98111

       A Claim Form received by the Claims Administrator shall be deemed to have been submitted when
posted, if a postmark date on or before ____________, 2020 is indicated on the envelope and it is mailed First
Class, and addressed in accordance with the above instructions. In all other cases, a Claim Form shall be
deemed to have been submitted when actually received by the Claims Administrator.

      You should be aware that it will take a significant amount of time to fully process all of the Claim
Forms. Please be patient and notify the Claims Administrator of any change of address.

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Questions? Visit www.EquifaxSecuritiesLitigation.com, email info@EquifaxSecuritiesLitigation.com, or call toll-free 1-
844-975-1781.
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                EXHIBIT A-3
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                                                                                     Exhibit A-3
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION



IN RE EQUIFAX INC. SECURITIES                          Consolidated Case No.
LITIGATION                                             1:17-cv-03463-TWT



        SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION
       AND PROPOSED SETTLEMENT; (II) SETTLEMENT FAIRNESS
      HEARING; AND (III) MOTION FOR AN AWARD OF ATTORNEYS’
                 FEES AND LITIGATION EXPENSES

    TO: all persons and entities who purchased or otherwise acquired
        publicly-traded Equifax Inc. (“Equifax”) common stock during the
        period from February 25, 2016 through September 15, 2017,
        inclusive (the “Class Period”), and who were damaged thereby1:
PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS WILL BE
AFFECTED BY A CLASS ACTION LAWSUIT PENDING IN THIS
COURT.

      YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules
of Civil Procedure and an Order of the United States District Court for the
Northern District of Georgia, Atlanta Division (the “Court”), that the above-
captioned securities class action (the “Action”) is pending in the Court.

        YOU ARE ALSO NOTIFIED that Lead Plaintiff in the Action, on behalf of
itself and the Settlement Class, has reached a proposed settlement of the Action for

1
  Certain persons and entities are excluded from the Settlement Class by definition, as set forth in
the full Notice of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Fairness
Hearing; and (III) Motion for an Award of Attorneys’ Fees and Litigation Expenses (the
“Notice”), available at www.EquifaxSecuritiesLitigation.com.
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$149,000,000 in cash (the “Settlement”). If approved, the Settlement will resolve
all claims in the Action.

       A hearing will be held on _____________, 2020 at __:__ _.m., before the
Honorable Thomas W. Thrash, Jr. at the United States District Court for the
Northern District of Georgia, Atlanta Division, Courtroom 2108 of the Richard B.
Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, GA 30303, to determine: (i) whether the proposed Settlement should be
approved as fair, reasonable, and adequate; (ii) whether, for purposes of the
proposed Settlement only, the Action should be certified as a class action on behalf
of the Settlement Class, Lead Plaintiff should be certified as Class Representative
for the Settlement Class, and Lead Counsel should be appointed as Class Counsel
for the Settlement Class; (iii) whether the Action should be dismissed with
prejudice against Defendants, and the Releases specified and described in the
Stipulation and Agreement of Settlement dated February 12, 2020 (and in the
Notice) should be granted; (iv) whether the proposed Plan of Allocation should be
approved as fair and reasonable; and (v) whether Lead Counsel’s application for an
award of attorneys’ fees and expenses should be approved.

      If you are a member of the Settlement Class, your rights will be affected
by the pending Action and the Settlement, and you may be entitled to share in
the Net Settlement Fund. If you have not yet received the Notice and Claim
Form, you may obtain copies of these documents by contacting the Claims
Administrator at: Equifax Securities Litigation, c/o JND Legal Administration, PO
Box        91319,        Seattle,       WA           98111,       1-844-975-1781,
info@EquifaxSecuritiesLitigation.com. Copies of the Notice and Claim Form can
also      be      downloaded         from        the      Settlement      website,
www.EquifaxSecuritiesLitigation.com.

      If you are a member of the Settlement Class, in order to be eligible to
receive a payment from the Settlement, you must submit a Claim Form
postmarked no later than _____________, 2020. If you are a Settlement Class
Member and do not submit a proper Claim Form, you will not be eligible to
receive a payment from the Settlement, but you will nevertheless be bound by any
judgments or orders entered by the Court in the Action.

      If you are a member of the Settlement Class and wish to exclude yourself
from the Settlement Class, you must submit a request for exclusion such that it is
received no later than _____________, 2020, in accordance with the instructions


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set forth in the Notice. If you properly exclude yourself from the Settlement Class,
you will not be bound by any judgments or orders entered by the Court in the
Action and you will not be eligible to receive a payment from the Settlement.

       Any objections to the proposed Settlement, the proposed Plan of Allocation,
or Lead Counsel’s motion for attorneys’ fees and expenses must be filed with the
Court and delivered to Lead Counsel and Equifax’s Counsel such that they are
received no later than _____________, 2020, in accordance with the instructions
set forth in the Notice.

      Please do not contact the Court, the Office of the Clerk of the Court,
Defendants, or their counsel regarding this notice. All questions about this
notice, the proposed Settlement, or your eligibility to participate in the
Settlement should be directed to the Claims Administrator or Lead Counsel.

      Requests for the Notice and Claim Form should be made to:

                           Equifax Securities Litigation
                          c/o JND Legal Administration
                                  PO Box 91319
                                Seattle, WA 98111
                                 1-844-975-1781
                      info@EquifaxSecuritiesLitigation.com
                      www.EquifaxSecuritiesLitigation.com

      Inquiries, other than requests for the Notice and Claim Form, should be
made to Lead Counsel:

                             James A. Harrod, Esq.
                  Bernstein Litowitz Berger & Grossmann LLP
                   1251 Avenue of the Americas, 44th Floor
                             New York, NY 10020
                                 1-800-380-8496
                           settlements@blbglaw.com

                                                             By Order of the Court

#1346662




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                  EXHIBIT B
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                                                                            Exhibit B
                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



 IN RE EQUIFAX INC. SECURITIES                   Consolidated Case No.
 LITIGATION                                      1:17-cv-03463-TWT



[PROPOSED] JUDGMENT APPROVING CLASS ACTION SETTLEMENT

      WHEREAS, a consolidated securities class action is pending in this Court

entitled In re Equifax Inc. Securities Litigation, Consolidated Case No. 1:17-cv-

03463-TWT (the “Action”);

      WHEREAS, lead plaintiff Union Asset Management Holding AG (“Lead

Plaintiff”), on behalf of itself and the Settlement Class (defined below); and

(b) defendants Equifax Inc. (“Equifax” or the “Company”) and Richard F. Smith

(“Smith” and, together with Equifax, “Defendants”) (Lead Plaintiff and Defendants,

together, the “Parties”) have entered into a Stipulation and Agreement of Settlement

dated February 12, 2020 (the “Stipulation”), that provides for a complete dismissal

with prejudice of the claims asserted against Defendants in the Action on the terms

and conditions set forth in the Stipulation, subject to the approval of this Court (the

“Settlement”);
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       WHEREAS, unless otherwise defined in this Judgment, the capitalized terms

herein shall have the same meaning as they have in the Stipulation;

       WHEREAS, by Order dated _________ __, 2020 (the “Preliminary Approval

Order”), this Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of

Civil Procedure, that it (i) would likely be able to approve the Settlement as fair,

reasonable, and adequate under Rule 23(e)(2) and (ii) would likely be able to certify

the Settlement Class for purposes of the Settlement; (b) ordered that notice of the

proposed Settlement be provided to potential Settlement Class Members;

(c) provided Settlement Class Members with the opportunity either to exclude

themselves from the Settlement Class or to object to the proposed Settlement; and

(d) scheduled a hearing regarding final approval of the Settlement;

       WHEREAS, due and adequate notice has been given to the Settlement Class;

       WHEREAS, the Court conducted a hearing on _________ __, 2020 (the

“Settlement Fairness Hearing”) to consider, among other things, (a) whether the

terms and conditions of the Settlement are fair, reasonable, and adequate to the

Settlement Class, and should therefore be approved; and (b) whether a judgment

should be entered dismissing the Action with prejudice as against the Defendants;

and




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      WHEREAS, the Court having reviewed and considered the Stipulation, all

papers filed and proceedings held herein in connection with the Settlement, all oral

and written comments received regarding the Settlement, and the record in the

Action, and good cause appearing therefor;

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

      1.     Jurisdiction – The Court has jurisdiction over the subject matter of the

Action, and all matters relating to the Settlement, as well as personal jurisdiction

over all of the Parties and each of the Settlement Class Members.

      2.     Incorporation of Settlement Documents – This Judgment

incorporates and makes a part hereof: (a) the Stipulation filed with the Court on

_____________, 2020; and (b) the Notice and the Summary Notice, both of which

were filed with the Court on _____________, 2020.

      3.     Class Certification for Settlement Purposes – The Court hereby

certifies for the purposes of the Settlement only, the Action as a class action pursuant

to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

Settlement Class consisting of all persons and entities who purchased or otherwise

acquired publicly-traded Equifax common stock during the period from February

25, 2016 through September 15, 2017, inclusive (the “Class Period”), and who were

damaged thereby (the “Settlement Class”). Excluded from the Settlement Class are:


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(i) the Defendants and Former Defendants; (ii) any current or former Officers or

directors of Equifax who served in such capacities during the Class Period; (iii) the

Immediate Family Members of Defendant Smith, the Former Defendants, or any

current or former Officer or director of Equifax who served in such capacities during

the Class Period; (iv) any entity that any Defendant or Former Defendant owns or

controls, or owned or controlled during the Class Period; (v) any affiliates, parents,

or subsidiaries of Equifax; and (vi) the legal representatives, heirs, successors, and

assigns of any such excluded persons and entities.        [Also excluded from the

Settlement Class are the persons and entities listed on Exhibit 1 hereto who or which

are excluded from the Settlement Class pursuant to request.]

      4.     Settlement Class Findings – For purposes of the Settlement only, the

Court finds that each element required for certification of the Settlement Class

pursuant to Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the

members of the Settlement Class are so numerous that their joinder in the Action

would be impracticable; (b) there are questions of law and fact common to the

Settlement Class which predominate over any individual questions; (c) the claims of

Lead Plaintiff in the Action are typical of the claims of the Settlement Class; (d)

Lead Plaintiff and Lead Counsel have and will fairly and adequately represent and




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protect the interests of the Settlement Class; and (e) a class action is superior to other

available methods for the fair and efficient adjudication of the Action.

      5.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the

purposes of the Settlement only, the Court hereby certifies Lead Plaintiff Union

Asset Management Holding AG as Class Representative for the Settlement Class

and appoints Lead Counsel Bernstein Litowitz Berger & Grossmann LLP as Class

Counsel for the Settlement Class. The Court finds that Lead Plaintiff and Lead

Counsel have fairly and adequately represented the Settlement Class both in terms

of litigating the Action and for purposes of entering into and implementing the

Settlement and have satisfied the requirements of Federal Rules of Civil Procedure

23(a)(4) and 23(g), respectively.

      6.     Notice – The Court finds that the dissemination of the Notice and the

publication of the Summary Notice: (a) were implemented in accordance with the

Preliminary Approval Order; (b) constituted the best notice practicable under the

circumstances; (c) constituted notice that was reasonably calculated, under the

circumstances, to apprise Settlement Class Members of (i) the pendency of the

Action; (ii) the effect of the proposed Settlement (including the Releases to be

provided thereunder); (iii) Lead Counsel’s motion for an award of attorneys’ fees

and Litigation Expenses; (iv) their right to object to any aspect of the Settlement, the


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Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and Litigation

Expenses; (v) their right to exclude themselves from the Settlement Class; and

(vi) their right to appear at the Settlement Fairness Hearing; (d) constituted due,

adequate, and sufficient notice to all persons and entities entitled to receive notice

of the proposed Settlement; and (e) satisfied the requirements of Rule 23 of the

Federal Rules of Civil Procedure, the United States Constitution (including the Due

Process Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. §

78u-4, as amended, and all other applicable law and rules.

        7.   Final Settlement Approval and Dismissal of Claims – Pursuant to,

and in accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this

Court hereby fully and finally approves the Settlement set forth in the Stipulation in

all respects (including, without limitation:     the amount of the Settlement; the

Releases provided for therein; and the dismissal with prejudice of the claims asserted

against Defendants in the Action), and finds that the Settlement is, in all respects,

fair, reasonable, and adequate to the Settlement Class. Specifically, the Court finds

that:    (a) Lead Plaintiff and Lead Counsel have adequately represented the

Settlement Class; (b) the Settlement was negotiated by the Parties at arm’s length;

(c) the relief provided for the Settlement Class under the Settlement is adequate

taking into account the costs, risks, and delay of trial and appeal; the proposed means


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of distributing the Settlement Fund to the Settlement Class; and the proposed

attorneys’ fee award; and (d) the Settlement treats members of the Settlement Class

equitably relative to each other. The Parties are directed to implement, perform, and

consummate the Settlement in accordance with the terms and provisions contained

in the Stipulation.

      8.     The Action and all of the claims asserted against Defendants in the

Action by Lead Plaintiff and the other Settlement Class Members are hereby

dismissed with prejudice. The Parties shall bear their own costs and expenses,

except as otherwise expressly provided in the Stipulation.

      9.     Binding Effect – The terms of the Stipulation and of this Judgment

shall be forever binding on Defendants, Lead Plaintiff, and all other Settlement Class

Members (regardless of whether or not any individual Settlement Class Member

submits a Claim Form or seeks or obtains a distribution from the Net Settlement

Fund), as well as their respective successors and assigns. [The persons and entities

listed on Exhibit 1 hereto are excluded from the Settlement Class pursuant to request

and are not bound by the terms of the Stipulation or this Judgment.]

      10.    Releases – The Releases set forth in paragraphs 5 and 6 of the

Stipulation, together with the definitions contained in paragraph 1 of the Stipulation




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relating thereto, are expressly incorporated herein in all respects. The Releases are

effective as of the Effective Date. Accordingly, this Court orders that:

                (a)   Without further action by anyone, and subject to paragraph 11

below, upon the Effective Date of the Settlement, Lead Plaintiff and each of the other

Settlement Class Members, on behalf of themselves, and their respective heirs,

executors, administrators, predecessors, successors, and assigns in their capacities

as such only, shall be deemed to have, and by operation of law and of this Judgment

shall have, fully, finally, and forever compromised, settled, released, resolved,

relinquished, waived, and discharged any or all of the Released Plaintiff’s Claims

against Defendants and the other Defendants’ Releasees, and shall forever be barred

and enjoined from prosecuting any or all of the Released Plaintiff’s Claims against

any of the Defendants’ Releasees. This Release shall not apply to any of the

Excluded Plaintiff’s Claims (as that term is defined in paragraph 1(t) of the

Stipulation).

                (b)   Without further action by anyone, and subject to paragraph 11

below, upon the Effective Date of the Settlement, Defendants and Former

Defendants, on behalf of themselves, and their respective heirs, executors,

administrators, predecessors, successors, and assigns in their capacities as such only,

shall be deemed to have, and by operation of law and of this Judgment shall have,


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fully, finally, and forever compromised, settled, released, resolved, relinquished,

waived, and discharged any or all of the Released Defendants’ Claims against Lead

Plaintiff and the other Plaintiff’s Releasees, and shall forever be barred and enjoined

from prosecuting any or all of the Released Defendants’ Claims against any of the

Plaintiff’s Releasees.   This Release shall not apply to any of the Excluded

Defendants’ Claims (as that term is defined in paragraph 1(s) of the Stipulation).

      11.    Notwithstanding paragraphs 10(a) – (b) above, nothing in this

Judgment shall bar any action by any of the Parties to enforce or effectuate the terms

of the Stipulation or this Judgment.

      12.    Rule 11 Findings – The Court finds and concludes that the Parties and

their respective counsel have complied in all respects with the requirements of Rule

11 of the Federal Rules of Civil Procedure in connection with the institution,

prosecution, defense, and settlement of the Action.

      13.    No Admissions – Neither this Judgment, the Term Sheet, the

Stipulation (whether or not consummated), including the exhibits thereto and the

Plan of Allocation contained therein (or any other plan of allocation that may be

approved by the Court), the negotiations leading to the execution of the Term Sheet

and the Stipulation, nor any proceedings taken pursuant to or in connection with the




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Term Sheet, the Stipulation, and/or approval of the Settlement (including any

arguments proffered in connection therewith):

             (a)   shall be offered against any of the Defendants’ Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Defendants’ Releasees with respect to the

truth of any fact alleged by Lead Plaintiff or the validity of any claim that was or

could have been asserted or the deficiency of any defense that has been or could

have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Defendants’

Releasees, or in any way referred to for any other reason as against any of the

Defendants’ Releasees, in any arbitration proceeding or other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of the Stipulation;

             (b)   shall be offered against any of the Plaintiff’s Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Plaintiff’s Releasees that any of their claims

are without merit, that any of the Defendants’ Releasees had meritorious defenses,

or that damages recoverable under the Complaint would not have exceeded the

Settlement Amount, or with respect to any liability, negligence, fault, or wrongdoing


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of any kind, or in any way referred to for any other reason as against any of the

Plaintiff’s Releasees, in any arbitration proceeding or other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of the Stipulation;

              (c)   shall be offered as evidence of, or construed as evidence of, any

presumption, concession, or admission that class certification is appropriate in this

Action, except for purposes of this Settlement; or

              (d)   shall be construed against any of the Releasees as an admission,

concession, or presumption that the consideration to be given under the Settlement

represents the amount which could be or would have been recovered after trial;

provided, however, that the Parties and the Releasees and their respective counsel

may refer to this Judgment and the Stipulation to effectuate the protections from

liability granted hereunder and thereunder or otherwise to enforce the terms of the

Settlement.

      14.     Retention of Jurisdiction – Without affecting the finality of this

Judgment in any way, this Court retains continuing and exclusive jurisdiction over:

(a) the Parties for purposes of the administration, interpretation, implementation, and

enforcement of the Settlement; (b) the disposition of the Settlement Fund; (c) any

motion for an award of attorneys’ fees and/or Litigation Expenses by Lead Counsel


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in the Action that will be paid from the Settlement Fund; (d) any motion to approve

the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and

(f) the Settlement Class Members for all matters relating to the Action.

      15.    Separate orders shall be entered regarding approval of a plan of

allocation and the motion of Lead Counsel for an award of attorneys’ fees and

Litigation Expenses. Such orders shall in no way affect or delay the finality of this

Judgment and shall not affect or delay the Effective Date of the Settlement.

      16.    Modification of the Agreement of Settlement – Without further

approval from the Court, Lead Plaintiff and Defendants are hereby authorized to

agree to and adopt such amendments or modifications of the Stipulation or any

exhibits attached thereto to effectuate the Settlement that: (a) are not materially

inconsistent with this Judgment; and (b) do not materially limit the rights of

Settlement Class Members in connection with the Settlement. Without further order

of the Court, Lead Plaintiff and Defendants may agree to reasonable extensions of

time to carry out any provisions of the Settlement.

      17.    Termination of Settlement – If the Settlement is terminated as

provided in the Stipulation or the Effective Date of the Settlement otherwise fails to

occur, this Judgment shall be vacated and rendered null and void, and shall be of no

further force and effect, except as otherwise provided by the Stipulation, and this


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Judgment shall be without prejudice to the rights of Lead Plaintiff, the other

Settlement Class Members, and Defendants, and Lead Plaintiff and Defendants shall

revert to their respective positions in the Action as of immediately prior to the

execution of the Term Sheet on November 16, 2019, as provided in the Stipulation.

      18.    Entry of Final Judgment – There is no just reason to delay the entry

of this Judgment as a final judgment in this Action. Accordingly, the Clerk of the

Court is expressly directed to immediately enter this final judgment in this Action.

      SO ORDERED this _______ day of ______________, 2020.



                                  _______________________________________
                                      The Honorable Thomas W. Thrash, Jr.
                                          United States District Judge




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                                 Exhibit 1

                [List of Persons and Entities Excluded from
                 the Settlement Class Pursuant to Request]




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